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17-2371-cr
   United States Court of Appeals
                           for the

                 Second Circuit

               UNITED STATES OF AMERICA,

                                                               Appellee,

                           – v. –

                     JOSEPH VALERIO,

                                                   Defendant-Appellant.
              ––––––––––––––––––––––––––––––
    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF NEW YORK


        BRIEF AND SPECIAL APPENDIX FOR
            DEFENDANT-APPELLANT




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                        PRELIMINARY STATEMENT

      Appellant Joseph Valerio appeals a judgment dated July 31, 2018, and

entered August 2, 2017, in the United States District Court for the Eastern District

of New York (Bianco, J.), convicting him of conspiracy to sexually exploit a child

[18 U.S.C. §§ 2251(e)]; two counts of sexual exploitation of a child [18 U.S.C. §§

2251(a), 2251(e), 2]; one count of exploitation of a child to engage in sexually

explicit conduct outside the United States [18 U.S.C. §§ 2251(c), 2251(e), 2];

transportation of child pornography [18 U.S.C. §§ 2252 (a)(1), 2252 (b)(1)), 2];

receipt of child pornography [18 U.S.C. §§ 2252(a)(2), 2252 (b)(1)]; and three

counts of attempted sexual exploitation of a child [18 U.S.C. §§ 2251(e), 2].

      Valerio was sentenced to an aggregate term of imprisonment of 60 years. On

Count One (conspiracy to sexually exploit a child); Counts Two, Three and

Fourteen (sexual exploitation of a child) and Counts Six, Seven, and Eight (attempt

to sexually exploit a child), the District Court sentenced Valerio to the statutory

maximum of 30 years on each count to run concurrently to each other. On Counts

Four and Five (transportation of child pornography and receipt of child

pornography), the District Court sentenced Valerio to 20 years imprisonment, the

statutory maximum on each count, to run concurrently to each other but

consecutively to the sentences imposed on Counts One, Two, Three, Six, Seven,

Eight, and Fourteen. On Count Fifteen (possession of child pornography), the

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District Court sentenced Valerio to the statutory maximum of 10 years, to run

consecutively to the sentences imposed on the other counts for a total sentence of

60 years.     (A389).   In addition, Valerio forfeited the sum of $75,000.00, a

computer, and an SD card.

      Notice of Appeal was timely filed on August 2, 2017.

                        STATEMENT OF SUBJECT MATTER
                         AND APPELLATE JURISDICTION

      The jurisdiction of the District Court was premised upon 18 U.S.C. § 3231.

Jurisdiction for the instant appeal is premised upon 28 U.S.C. § 1291.

                STATEMENT OF ISSUES PRESENTED FOR REVIEW

      1. Whether statements elicited from Appellant before he received Miranda

warnings must be suppressed because he was in custody when the pre-Miranda

questioning occurred?

      2. Whether Appellant’s post-Miranda statements must be suppressed?

      3. Whether multiple procedural defects render the de facto life sentence

imposed upon Valerio unreasonable?

      4. Whether the de facto life sentence imposed upon Valerio received is

substantively unreasonable?

      5. Whether the sentences imposed on Counts Two, Three, Five, Six, Seven,

Eight, and Fifteen violate the Double Jeopardy Clause?



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                            STANDARD OF REVIEW

      On an appeal from a district court’s ruling that questioning was not

“custodial” for the purposes of Miranda v. Arizona, 384 U.S. 436 (1966), that

court’s factual findings are reviewed for clear error and its legal conclusions are

reviewed de novo. United States v. Newton, 369 F.3d 659, 668 (2d Cir. 2004);

United States v. Romaszko, 253 F.3d 757, 760 (2d Cir. 2001).

      This Court reviews a sentence for procedural and substantive reasonableness

under a “deferential abuse-of-discretion standard.” United States v. Broxmeyer,

699 F.3d 265, 278 (2d Cir.2012) (quoting United States v. Cavera, 550 F.3d 180,

188 & n. 5 (2d Cir.2008).

      Whether sentences imposed upon multiple counts of conviction violate the

Double Jeopardy Clause is a question of law to be reviewed de novo. The Double

Jeopardy arguments raised in Point V are subject to “plain error” review. United

States v. Polouizzi, 564 F.3d 142 (2d Cir. 2009).

                      SUMMARY OF THE ARGUMENT

      Appellant Joseph Valerio raises a panoply of errors: (1) the denial of his

motion to suppress statements that were obtained without Miranda warnings; (2) a

series of procedural errors that undermined the integrity of the sentencing

proceeding; (3) a sentence that is substantively unreasonable because it defeats the

sentencing goals set forth in 18 U.S.C. §3553; and (4) sentences upon individual

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counts that violate the Double Jeopardy Clause’s prohibition against multiple

punishments for the same offense. We discuss each of these errors ad seriatim.

      After Olena Kalichenko provided the FBI with copies of pornographic

videos of her daughter and e-mail correspondence with Valerio, his home was

searched by a dozen law enforcement officers from the FBI and the Nassau and

Suffolk County Police Departments. While his home was occupied by these agents,

Valerio was questioned by four of them who, in anticipation of this interrogation,

came prepared with copies of e-mails and at least one of Kalichenko’s videos for

use in their questioning. Valerio, who was little more than a prisoner in his own

home, answered his interrogators’ questions for an hour and thirty minutes before

he received Miranda warnings.        He then underwent additional questioning,

although to avoid “upsetting him,” the agents did not inform Valerio that he was

under arrest until they had completed their search and were ready to leave.

      The District Court denied Valerio’s motion to suppress his statements

because it concluded that (1) a reasonable person in Valerio’s circumstances would

not have concluded he was not free to leave the premises; and (2) in the alternative,

any limitations upon Valerio’s freedom of movement did not rise to the level of a

formal arrest.

      The District Court erred because substantial and essentially undisputed

evidence regarding the circumstances in which Valerio was interrogated would

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have led a reasonable person to conclude that he could not terminate the

interrogation by walking away from his interrogators. During his interrogation,

Valerio was confined to a single room in the company of four law enforcement

officers, and the other rooms in his house were occupied by their fellow officers,

leaving Valerio no place within his home to which he could retreat. Moreover,

Valerio who was clad in a pair of pants and a tank top was not dressed to leave his

house on a frigid January day.

      The sheer number of police officers in his home; his isolation from the only

other non-police personnel in his home (his girlfriend); and the fact he was

effectively confined to single room; were conditions equivalent to the limitations

imposed upon an arrestee. Thus, the only rational conclusion one could reach on

the record before the District Court is that the circumstances in which Valerio was

interrogated were custodial and that his interrogators should have given him

Miranda warnings.

      Because the statutes under which Valerio was convicted do not authorize a

penalty of life imprisonment, the District Court deliberately imposed a term of

years that would ensure that Valerio spent the rest of his life in prison.   This de

facto life sentence is procedurally and substantively unreasonable.

      This de facto life sentence is procedurally unreasonable for three reasons.

First, the District Court’s finding that a life sentence was necessary to protect

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women as well as children was premised in large part on testimony at a post-trial

hearing by women who claimed to have been physically and sexually abused by

Valerio. The District Court’s reliance upon these uncharged allegations to impose

a life sentence violated Valerio’s Sixth Amendment right to a jury trial and Fifth

Amendment right to Due Process.

      Second, the District Court’s “invitation” to Kalichenko to testify at this post-

trial hearing compromised the integrity of the proceedings because it (1) interjected

into the proceedings testimony from a witness that the Government deemed too

unworthy of belief to call as its witness; (2) made the District Court an advocate;

(3) resulted in the District Court passing upon the veracity of the very testimony it

had interjected into the proceedings; and (4) could be misconstrued by Kalichenko

as an implicit promise by the District Court of leniency if she testified.

      Third, the District Court used the wrong Guideline as a benchmark for

devising its sentence. Here as in United States v. Dorvee, 616 F.3d 174 (2d Cir.

2010), the District Court erred by using a Guideline sentence range that exceeded

the statutory maximum as the reference point for its sentencing decision. Instead,

the District Court should have used the benchmark indicated by U.S.S.G

§5G1.1(a), the statutory maximum sentence.

      Viewed in light of the 18 U.S.C. § 3553(a), the de facto life sentence is

substantively unreasonable on at least four grounds.

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      First, the sentence is unwarranted by Valerio’s Category I Criminal history

and is far in excess of what is necessary for specific deterrence. The District Court

ignored the fact that Valerio’s risk of recidivism will decrease as a result of therapy,

aging, and the stringent conditions of supervised release imposed upon sex

offenders. Instead, the District Court subscribed to the myth that sex offenders

have higher rates of recidivism than other offenders.

      Second, the statutory goal of rehabilitation is defeated by a sentence that

insures Valerio will die in prison.       A de facto life sentence is a powerful

disincentive for a prisoner seeking to rehabilitate himself, and it squanders

whatever scarce financial resources the correctional system spends on

rehabilitation.

      Third, the de facto life sentence imposed upon Valerio runs counter to the

statutory goal of general deterrence. It diverts public funds needed for the

incarceration of others who have committed more heinous crimes – e.g., murderers

– and it implies that these more heinous crimes are, in fact, no more serious than

the crimes of which Valerio was convicted.

      Fourth, as the United States Sentencing Commission’s own statistics

indicate, there is a gross disparity between the de facto life sentence Valerio

received and sentences received by the vast majority of other federal inmates,

including sex offenders.

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      In addition to being substantively and procedurally unreasonable, the

sentences imposed on the individual counts violate the Double Jeopardy Clause.

      Counts Two and Three allege substantially the same offense, a violation of

18 U.S.C. 2251. The only difference is that Count Three is premised upon a

subsection of the statute that was added merely to clarify that the previous version

of the statute applies to conduct that occurs outside the United States.

      The sentences imposed on Count Five (receiving child pornography) and

Count Fifteen (possession of child pornography) violate the Double Jeopardy

Clause because possession is a lesser included offense of receiving child

pornography, and the verdict on both counts here is based upon the same images,

the images of Kalichenko’s daughter that were on Valerio’s computer.

      Finally, Counts Six, Seven, and Eight – which charge attempts at sexual

exploitation of Kalichenko’s daughter – were simply steps on the way to the

completed crime of sexual exploitation charged in Counts Two and Three.

Consequently, the sentences imposed upon Counts Six, Seven, and Eight punish

Valerio for the same crimes for which he has been sentenced under Counts Two

and Three.

                          STATEMENT OF THE CASE

      In November 2013, Olena Kalichenko (“Kalichenko”) walked into the

United States Embassy in Kiev, Ukraine and provided FBI Agent Peter Angelini

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with e-mail correspondence between herself and Appellant Joseph Valerio. That

correspondence indicated that she had been sending him child pornography, i.e.,

videos of her engaging in sexual acts with “S.K.,” her two-year-old daughter.

Agent Angelini forwarded these materials to FBI agents in the United States who

obtained a search warrant for Valerio’s residence, 3 High Gate Drive, Smithtown,

New York.

        At 6:00 a.m. on January 28, 2014, twelve officers from the FBI and the

Suffolk County and Nassau County Police Departments executed the search

warrant. Valerio was also interrogated for several hours. At the conclusion of the

search, he was arrested and handcuffed and later arraigned in the United States

District Court for the Eastern District of New York on a complaint charging him

with sexual exploitation of a child. Valerio was released on bond.

        On February 24, 2014, Valerio was arrested again and charged with sexual

exploitation of another child, his niece “S.I.”     Thereafter, his residence was

searched a second time. He was subsequently indicted for conspiracy to sexually

exploit a child and related substantive child pornography crimes involving S.K.

and S.I. Valerio was remanded after the second arrest. He is currently serving his

sentence in a federal penitentiary in Tucson, Arizona. His release date is May 19,

2066.




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         A.     Hearing on the Motion to Suppress Statements

      In his affidavit in support of his motion to suppress, Valerio stated that

during the search of his residence on January 28, 2014, he was questioned by

several local detectives and FBI agents, three of whom were seated with him at his

dining room table while two others stood by him. An agent or detective whom he

believed to be a computer expert told Valerio, “among other things,” that he was

“going to be in a very dark place.” Although this person “spoke in a soft voice,”

he “was in [Valerio’s] face a lot.” (A44).

      The agents asked him about e-mails, and “[b]ased on all the circumstances,

[Valerio] felt pressured, meaning that [he] had to answer their questions.” (A44).

The agents read him the Miranda warnings from a form “only sometime after the

questioning began…. Based on the atmosphere, how things had already

progressed,” Valerio “felt compelled to continue to answer their questions.” (A44).

      On July 31, 2014, the District Court held an evidentiary hearing on Valerio’s

motion to suppress. The government called a single witness, FBI Agent Steven

Troyd.

      Troyd testified that at 6:00 a.m. on January 28, 2014, he and eleven law

enforcement agents from the FBI and the Nassau County and Suffolk County

Police Departments (“NCPD” and “SCPD” respectively) executed a search warrant

at Valerio’s residence. (A52-54, A79-81). “It was a very cold morning,” and “it

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had snowed a lot” the day before. (A52-53). Consequently, Troyd and his

colleagues wore “raid jackets,” – jackets that displayed the insignia of the law

enforcement agency to which the wearer belonged – over their ballistic armor.

(A52-54, A80-81).

      Troyd called Valerio’s cellphone and told him that agents were present

outside his home to execute a search warrant. (A53-54). Valerio, who was clad in

only long pants and a tank top, opened the front door and admitted the twelve law

enforcement agents to his residence. (A55-56, A81). Troyd asked if anyone else

was present in Valerio’s residence.   Valerio stated that his girlfriend, Jarmila

Bereskova, was on the second floor.

      No guns were displayed by the agents. Nor was Valerio handcuffed or

subjected to any other physical restraints. However, when Valerio attempted to

join Ms. Bereskova on the second floor, Troyd “asked” Valerio “to stay downstairs”

with him, and Valerio complied. (A57-58, A102).

      The agents completed their security sweep of Valerio’s residence in

approximately 10 minutes. However, even after the security sweep was completed,

neither Valerio nor Ms. Bereskova was permitted to move about the house. (A56-

57, A81-84, A86-87). Ms. Bereskova was confined to a family room on the first

floor where Troyd’s supervisor, Dawn Smallwood kept watch over her. (A59-




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A61). Troyd asked Valerio to sit down at a table in dining room so Troyd could

speak to him. (A83-84, A91-92).1

        In the dining room, Troyd and Valerio were joined by FBI Agent Danielle

Messineo, SCPD Detective Rory Forrestal, and NCPD Detective Balducco, who

were there to assist Troyd in questioning Valerio. (A59-60, A85-86). Troyd’s

Supervisor, FBI Agent Dawn Smallwood – who stood in the hallway between the

dining room and the family room where Bereskova was detained -- would walk

past the dining room intermittently. However, Smallwood did not participate in

the questioning. (A60-61).

        Troyd told Valerio that the agents were searching his home for evidence of

child pornography. In response to this news, Mr. Valerio replied that he was being

extorted by a woman named Olena Kalichenko who was threatening to go to the

police if he did not pay her. (A62).

        Troyd read Valerio an excerpt from an e-mail that Troyd had “[i]n

preparation for the interview . . . highlighted . . . so [he] could refer to it” (A64).

The excerpt was a request for a video in which Kalichenko’s daughter had oral

contact with her mother’s vagina. (A65). Troyd asked Valerio “if he had in fact

directed Ms. Kalichenko to produce child pornography” and if he “had received

that pornography in e-mail,” and Valerio “said he did.” (A65).


1
    A photograph of the dining room appears in the Appendix at A121.
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      Troyd also asked Valerio if he had received a DHL package from

Kalichenko that contained a disk. Valerio replied that he had received a DHL

package that contained only bubble wrap. (A65).

      Troyd then interrupted the questioning to telephone the United States

Attorney’s office to ask “about authorizing a complaint for Mr. Valerio.” (H21).

After an Assistant “authorized a complaint,” Troyd conferred with Agent Messineo

and they decided that they had “to advise Mr. Valerio of his Miranda rights.”

(A66).

      Thus, an hour-and-one-half after the agents had commenced questioning

Valerio, they presented him with an advice of rights form that Valerio signed.

Troyd also gave Valerio copies of e-mail exchanges dated July 17 and July 22,

2012 between Valerio and Ms. Kalichenko, and asked Valerio to read them. Troyd

had already questioned Valerio about one of these e-mails before he was advised of

his rights to remain silent and to have an attorney. (A97). The other e-mail was

sent “in the same timeframe” as the e-mail about which Valerio was questioned

prior to being read Miranda warnings (A97-98). Valerio admitted sending these

e-mails. Troyd asked him to initial the e-mails. However, Valerio declined.

(A66-67).




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      Troyd then had Valerio view on a laptop computer, a segment of a video that

Kalichenko had given the FBI. According to Troyd, Valerio:

            admitted that he recognized Olena Kalichenko and the
            child in the video.

            But he stated he had not seen this particular video, and he
            knew that because he did not recognize the background
            in the video, and he had not seen that background in the
            other videos that Ms. Kalichenko had sent to him. (A68).

      Troyd had no recollection of SCPD Detective Forrestal telling Valerio that

he was “going to be in a very dark place.” (A70-71). Troyd maintained that

Forrestal was “very friendly” and “engaging and calm” when discussing the facts

of the case with Mr. Valerio.” (A71).

      Questioning of Valerio ceased after he declined the agents’ request to sign a

written statement and asked instead “to speak to his attorney.” (A72-73). Troyd

acknowledged that the agents “didn't immediately tell Valerio he was arrested at

the conclusion of the interview because we wanted him to remain seated and calm.”

(A72). However, once the agents “had everything concluded as far as the search

warrant,” the agents told Valerio that he was under arrest and handcuffed him.

(A72). The agents “walked him out of the house in a jacket because it was very

cold and snow [sic] on the ground.” (A73).




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       B.     The District Court’s Decision Denying Valerio’s Motion to
              Suppress

      The District Court found Agent Troyd’s testimony regarding the facts “to be

wholly credible” and, “to the extent it conflicted with Agent’s Troyd’s testimony,”

Valerio’s affidavit was not credible. (A180).

      The District Court concluded that Miranda warnings were not required for

the questioning that preceded Troyd’s telephone call to the United States

Attorney’s office because:

              a reasonable person in defendant’s situation would have
              understood that he was free to end the interview and
              leave the house during the search based upon the
              following facts: (1) the interview took place in the
              familiar surroundings of defendant’s home; (2) defendant
              knew the agents were there to conduct a search, and
              agents never told him that he was under arrest, or that he
              was not free to terminate the interview and leave the
              house; (3) agents did not brandish their weapons or
              handcuff defendant or touch him in any way; (4) agents
              were not blocking the defendant from leaving the house;
              and (5) agents did not say or do anything threatening, but
              rather conducted the interview of the defendant in a calm
              manner.

      The District Court also concluded:

              in the alternative that, even assuming arguendo that a
              reasonable person would not have understood he was free
              to end the interview and leave the house, the defendant’s
              freedom of action was not curtailed to a degree
              associated with formal arrest. Thus, no pre-arrest
              Miranda warnings were necessary . . . A179-180.



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      The District Court’s opinion outlined the reasoning that led to this latter

conclusion noting:

            1) The “interview” took place in “the familiar
            surroundings” of Valerio’s home.

            2) The agents did not tell that Valerio that he had to go to
            the dining room or submit to an interview or answer
            questions.

            3) The absence of any evidence that any agents blocked
            his “exit from the dining room or residence.”

            4) No officer ever brandished a weapon during the
            interview or the search.

            5) No officer touched the person of Valerio or spoke in a
            tone of voice that indicated noncompliance would result
            in the use of force.

            6) Valerio was not handcuffed or subjected to other
            physical constraints. Nor was he told he was under arrest
            or not free to leave.

            7) “A reasonable person in Valerio’s position would have
            understood that the large number of agents in the
            residence related to the need to search his entire
            residence, and that they were not there to place him in
            custody.”

            8) Valerio responded to Agent Troyd’s questions “despite
            knowing the officers were searching for evidence of child
            pornography, and remained calm throughout the
            interview—both before and after he signed the ‘Advice
            of Rights’ form.”




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       C.     The Government’s Case Regarding Kalichenko’s Videos

      At trial, the Government sought to prove that Kalichenko – who Valerio had

met on an internet dating site – had, at Valerio’s request and for her own pecuniary

gain, created “custom-made home videos” of herself sexually molesting her

daughter (T244).2 To this end, the Government proffered the testimony of FBI

Agents Angelini and Troyd and SCPD Detective Forrestal, and e-mail

correspondence and text messages between Valerio and Kalichenko.

      The e-mail correspondence commenced on June 23, 2011, when

Kalichenko, who was then in Dallas, Texas, responded to a letter from Valerio and

suggested they meet. (T705-708). In subsequent e-mails, Valerio requested videos

of Kalichenko engaging in deviant sexual activity with her daughter and described

in detail specific conduct what he wished to see in the videos. (T502, 510-514,

527, 534-535, 708-709, 743).

      In other e-mails, Valerio sought to reassure Kalichenko of his concern for

her and her child; spoke of giving Kalichenko and her daughter the opportunity to

make a new life in the United States; and sought confirmation that she had

received funds he had sent her.


2
 Numbers preceded by “T” refer to pages in the United States v. Joseph Valerio,
14 CR 94 (JFB) trial transcripts. The transcripts are dated as follows: November 4,
2014 (pages 209-392); November 5, 2014 (pages 393-567); November 6, 2014
(568-733); November 10, 2014 (pages 735-922); November 12, 2014 (pages 923-
1078); and November 13, 2014 (pages 1079-1256).
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        Kalichenko’s responses, which were sent from Kiev and Turkey, are filled

with requests for money, and responses to and attempts to mollify Valerio’s

complaints and criticisms. (T755).

        Eventually, Valerio and Kalichenko had a falling out. On November 8, 2013,

Kalichenko walked into the United States embassy in Kiev, Ukraine, where she

provided FBI Agent Peter Angelini with e-mail correspondence and other

documents. (T260-263). She subsequently forwarded via e-mail other documents

to Angelini and eventually gave him a disk that contained videos. (T270-272). The

videos showed Kalichenko fondling her naked two-year-old daughter, and

encouraging her daughter to touch Kalichenko’s genitals. (T270-272).       Agent

Angelini forwarded these materials to FBI agents in the United States, and they

obtained a search warrant for Valerio’s residence, 3 High Gate Drive, Smithtown,

New York.

        On cross-examination, FBI Agent Angelini acknowledged that Ms.

Kalichenko had admitted sending a video to a boyfriend other than Valerio. (T277).

Angelini also acknowledged that the FBI did not attempt to search Kalichenko’s

home, her cellphone, or other digital devices. (T275-277, 281). Nor did the FBI

request that local law enforcement in the Ukraine undertake such measures. (T276,

281).




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      A series of text messages between Kalichenko and Valerio on a cellphone

seized during a search of Valerio’s home on January 28, 2014, show that at

roughly the same time Kalichenko was meeting with the FBI in the Ukraine, she

was offering to cease helping the FBI if Valerio was willing “to negotiate.”

      Specifically, in a December 3, 2013 text message, Kalichenko asked Valerio

what he thought about property in Dubai as an investment and chided for him for

failing to negotiate with her “before the criminal case.” (T673). Valerio responded

by telling her never to call him again and threatening to report her to the police.

(T683).

       In a December 7, 2013 text message, Kalichenko told Valerio that she was

“fed up with him” and sending the FBI all of the videos she had made with her

daughter. She added that the videos were the “only piece needed to get a court to

arrest” Valerio. (T684). When Valerio responded that Kalichenko should go to the

police, she texted:

             I see you really don't want to recognize your mistakes
             and negotiate. Let's play hard ball then. (T813).

      However, in a text message dated December 11, 2013, Kalichenko renewed

her offer to withhold evidence from the FBI, if Valerio was willing to pay her:

             Joseph, I now have eight different videos I made for you
             not counting the one I sent through DHL. FBI is asking
             me every single day either I am sending additional
             evidence to them. I don't think you really understand how
             serious the matter is. I am asking you for the last time
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            would you like me to provide to the police everything I
            have or would you like to negotiate? (T861-862).

      FBI Agent Troyd testified about the January 28, 2014 search of Valerio’s

home and statements made by Valerio, and his account was supplement by

testimony from SCPD Detective Rory Forrestal. (T419, 428-431, 659-660).

      Forrestal, also testified as an expert witness regarding electronic devices that

were seized from Valerio’s home on January 28, 2014. On the hard drive of a

computer found in Valerio’s office on the second floor of his home, Forrestal

found videos of Kalichenko and her child engaged in sexual activity as well as

e-mails between Valerio and Kalichenko concerning these videos. (T745-751).3

      On cross-examination, Forrestal acknowledged that these videos had never

been played on this computer because they were found only in the in-box of the

computer’s mail program. Had they been played on this computer, they would also

have been found in other places on the hard drive. (T817-819).

      Forrestal also acknowledged that none of the videos attached to

Kalichenko’s e-mails to Valerio contained metadata that indicated when and where

the video was made. (T838-839, 840-841). Nor could Forrestal tell just by

watching the videos where and when they were made. (T838-839). Forrestal did

3
  In addition to the aforementioned computer, Forrestal examined six other
computers, two 16 gigabyte memory cards, two cellphones, two cameras, and a
camcorder seized from Valerio’s home and found “nothing illegal” on them.
(T799-803).

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not conduct a forensic examination of the videos on the CD that Kalichenko had

provided to Agent Angelini in Kiev. (T834). Moreover, Forrestal did not know if

anyone else had examined the videos on that CD for a date stamp. (T834-835).

       D. The Government’s Case Regarding Valerio’s Niece

      Forrestal recounted how he had retrieved a still image and remnants of

videos that had been deleted from an SD card seized from Valerio’s home on

January 28, 2014. The images were written to that card by a Samsung Electronics

HMX100 video camera that was found concealed behind a ceiling tile in the

basement of Valerio’s home. (T777). Among images that he was able to recover

were images of a naked female child, who was identified as Valerio’s niece.

      From metadata written by the video camera to the SD card, Forrestal

concluded that the images were written to the SD card between September 10,

2010 and January 19, 2011.      (T788).   On February 26, 2014, Forrestal also

conducted a test of the video camera, by inserting a blank SD card into the camera

to determine what date would be written to the SD card. (T787-789). The date

written to the SD card was February 26, 2014. (T787-789).

      Bernadette Imperiale, Valerio’s sister, testified that in approximately 2010

or 2011, her daughter, who was then about six years old, had served as a

photography model for Valerio. Her daughter would dress in various costumes,

e.g., as a fairy, a cheerleader. (T615-616, 620). One of the photographs was

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published in a Halloween magazine. (T623). Imperiale was present during some

but not all of the photoshoots, which occurred in the basement of Valerio’s home.

(T619).

      Imperiale met Kalichenko just once at Valerio’s house. (T630-631). The

meeting was in the summer, but she could not remember the year it occurred.

(T631). Imperiale, Valerio, and Kalichenko were in the basement “taking pictures”

of her daughter. When she and Valerio went upstairs to get something to eat,

Kalichenko stayed in the basement to take more pictures. (T631-632).

      Records maintained by Homeland Security showed that an “Olena

Kalichenko” had entered the United States on February 23, 2010 and departed on

March 14, 2010. (T383). On June 4, 2011, Kalichenko arrived in Dallas, Texas

and departed from JFK on July 7, 2011. (T384). Kalichenko entered the United

States again on August 15, 2011 and September 2, 2011. (T385-286). Homeland

Security had no record of departure dates related to her August 15 and September

15, 2011 arrival dates. (T386).

       E.     The Defense Case

      The defense focused upon the lack of evidence that Kalichenko’s videos

were “custom-made” for Valerio, asking the jurors to find that Kalichenko had

produced her videos on her own initiative and possibly prior to her first contact

with Valerio.

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      The defense’s computer expert, Scott Gibbs, explained that to falsify the

date on which data was written to the SD card examined by Forrestal, all one had

to do was change the date setting on the camera used to take the image. (T892-

894). Moreover, it was impossible for an expert to determine if the dates that

appear on an SD card retrieved from Valerio’s home were produced by such a ploy.

(T892-894).

      Frances Valerio, Valerio’s mother, remembered seeing Kalichenko in her

son’s home about three times in 2011. (T936, 941). On one of those occasions,

Frances Valerio, Ms. Imperiale, and Kalichenko were in the basement while

Valerio was videotaping her granddaughter, who was dressed in a fairy costume.

When a food delivery arrived, Valerio, his mother, and his sister went to the main

floor, leaving her granddaughter alone with Kalichenko. (T937-938).

      F. Rule 29 Motion

      Defense counsel moved for a judgment of acquittal based on the

Government’s failure to prove Valerio’s guilt beyond a reasonable doubt. (A141).

In addition, defense counsel maintained that the conduct underlying the attempt

counts were not sufficiently substantial steps in the commission of a crime to

constitute an attempt. He offered the following analogy:

              By way of analogy, a person wants another person to
              commit a bank robbery and sends the person to a bank on
              five separate occasions, and for whatever reason the

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             person goes to the bank and doesn't do a robbery that day.
             And each time the person goes to the bank it is certainly
             an overt act in terms of the actual bank robbery. But at
             the end when the person commits a bank robbery, it
             would seem unfair to categorize the five trips to the bank
             as five separate attempts. It is better to say attempt to a
             bank robbery and leave it to the jury as to whether it was
             one attempt or one completion of a crime. And that
             completes my presentation, your Honor. (A143).

      The District Court found that the conduct underlying each attempt count was

sufficient to constitute a substantial step toward the completion of the crime of the

sexual exploitation of a minor.     (A163-168).    At that point, defense counsel

observed, “With respect to the multiplicity that you touched upon, . . . assuming

conviction on substantive counts, the attempts occur within the same time frame

would have to be merged at sentencing.” (A168-169).

      Ultimately, the District Court agreed with defense counsel regarding the

merger of the sexual exploitation attempt counts into the completed crime of

sexual exploitation:

             Certainly I think Mr. Lato is correct, the Government
             might even concede this if there were a conviction on the
             sexual exploitation counts. Certainly an attempt to
             commit a crime and a completed crime would create a
             double jeopardy problem if someone were sentenced on
             both. If there is any doubt on that, U.S. v. Rust, Eighth
             Circuit case, 650 F.2d, a 1981 case, where they said it is
             also clear that defendant may not be convicted in both the
             attempt and the completed crime because all the elements
             of the attempt were included in the completed offense
             and a dual conviction would amount to double jeopardy.

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            Based upon the Second Circuit decision in Zvi, I think
            the appropriate remedy here if there were a conviction on
            both the substantive crimes and the attempted counts
            would be to vacate the attempted accounts to avoid a
            double jeopardy problem but we'll deal with that if that
            occurs. (A171).

      G. Jury Verdicts Regarding Crimes Charged and Forfeiture

      The jury convicted Valerio of Count One4 [conspiracy to sexually exploit a

child]; Count Two [sexual exploitation of a child (S.K.)]; Count Three [sexual

exploitation of a child outside the United States (S.K.)]; Count Fourteen [sexual

exploitation of a child (S.I.)]; and Counts Six, Seven, Eight, Nine, Ten, Eleven,

Twelve and Thirteen [attempt to sexually exploit a child (S.K.)].

      Immediately after the guilty verdict on these counts, the jury deliberated on

the forfeiture allegation in the indictment, and returned a verdict forfeiting

Valerio’s Smithtown home, and the computer and SD card on which child

pornography was found. The Government and Valerio subsequently entered into a

stipulation pursuant to which he paid $75,000.00 instead of losing his home.

      H. Fatico Hearing

      After the Government sought the inclusion in the Presentence Report of

various allegations regarding Valerio’s relationships with and/or conduct towards



4
  The count numbers cited here are from the redacted indictment submitted to the
jury, a copy of which appears in the Appendix at A146.

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several women, including Kalichenko, the District Court ordered a Fatico5 hearing

to which Kalichenko was “invited” by the District Court to testify regarding

allegations of abuse by Valerio. Kalichenko, who had pleaded guilty to child

pornography charges, had made these abuse allegations during her own case and

was awaiting sentencing by the District Court. (A188).

        The Government – which had not sought her testimony – was directed by the

District Court to undertake the direct examination of Kalichenko. (A188). The

Government acceded to this request, but the Government’s lawyer had Kalichenko

state on the record that he had not met with her to prepare her testimony and that

the Government had not promised her leniency in return for her testimony (A211).

Nevertheless, Kalichenko also acknowledged to the Government’s lawyer that she

was testifying in hopes of obtaining leniency when the District Court sentenced

her.7 (A210-211).


5
    United States v. Fatico, 603 F.2d 1053 (2d Cir. 1979).
7
  When defense counsel asked her a similar question on cross-examination,
Kalichenko denied that she was seeking leniency and claimed that she was
surprised by and had not sought the District Court’s “invitation” to testify. (A226).
However, just prior to her testimony, the District Court noted that he was aware
she was seeking leniency on the basis of Valerio’s mistreatment of her, but
cautioned her to confine testimony to violence or threats of violence by Valerio:

              I know that there are other aspects of your interactions
              with Mr. Valerio that you have testified about at the
              hearing that we had and maybe you want to bring to my
              attention for purpose of your own sentencing, but at least
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      Kalichenko testified that she met Valerio through an internet dating website

where she was searching for a husband. (A211). In June 2011, while she was in

Dallas, Texas, she contacted him, and he invited her to stay at his home in Long

Island. (A211, A222).

      She stayed with Valerio approximately ten days to two weeks. Valerio

seemed a “credible person” who had a good relationship with his son (A212,

A222). He sometimes became angry or jealous for “no reason.” (A212). However,

this behavior did not dissuade her from pursuing a relationship with him. (A212-

213). Valerio paid for her return ticket to the Ukraine, and they continued their

budding relationship over the telephone. (A213).

      In September 2011, Kalichenko returned to the United States. (A222). She

stayed at Valerio’s home for three weeks until he became angry and demanded that

she leave immediately. (A214). When she asked to stay a few more days until she

could find a place to go to, he sexually assaulted her. (A214-216, A222-223).     A

few days later, Kalichenko left to stay with a male acquaintance in Seattle.

However, in the second week of October, after Valerio had invited her to return,

she went back to him.8 (A216-217).


            for purposes of direct examination, those are the issues
            that I want focused on today. (A210).
      8
        He picked her up in Manhattan. (A217-218). On the drive back to Long
Island, Valerio pulled over to the side of the road, stuck his hand into her vagina,
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      Kalichenko stayed with Valerio until approximately the end of October,

when she returned to the Ukraine. During that time she suffered no other instances

of nonconsensual sex or physical abuse. (A220). At some point during this interval,

Valerio and Kalichenko entered into a multiple partner relationship contract.

(A219). The contract obligated her to obey Valerio, and Valerio to “be a good man

and a gentle man with his partner when not engaging in consensual rough sexual

intercourse.” (A220).

      Upon her return to the Ukraine, Kalichenko sent Valerio an e-mail asserting

that she wanted to continue their relationship. (A224). She began making and

sending videos of herself and daughter to Valerio.

      In July 2013, Valerio requested that Kalichenko help him adopt a child from

the Ukraine. (A221). Instead, Kalichenko sent a letter to the American consulate

to thwart such an adoption (A221).

      Asked on cross-examination if, in December 2013, she threatened to go to

the FBI if Valerio did not pay her money, Kalichenko claimed that she had told

Valerio that she intended to file a civil lawsuit against him. (A225). Kalichenko

acknowledged that when she was arrested by FBI Agents Troy and Messineo, she

did not tell them she had been abused either physically or sexually by Valerio,


and kept it there while he masturbated. (A218-219). After his “discharge,” he
apologized to her. (A219, A223).

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although she maintained that at some point she told an FBI agent about that abuse.

(A226).   When asked if she had performed oral sex on her own daughter,

Kalichenko refused to answer. (A223).

      A.D. of Johannesburg, South Africa 9 testified that she met Valerio on a

Christian dating website in August 2007. (A229-230, A240). In 2008, A.D. and

her then three-month-old son went to visit Valerio. (A230). Valerio initially

treated them warmly. However, as time passed, Valerio would become angry with

her and complain about her son. (A230). On one occasion, he tripped her (A230,

A241). On another occasion, Valerio hit and choked her because he did not like

way she had thanked him for taking her to the beach. (A230).

      Upon her return to the United States after a visit to her mother in South

Africa, Valerio became angry when he noticed that another man was carrying

A.D.’s luggage. (A231). Later at his home, Valerio tore her clothes off and “had

his way with her.” (A232). On another occasion, after the neighbors had witnessed

them arguing, he accused her of having “put on a show.” (A232, A240).

      After A.D. became pregnant by Valerio, he suggested that she terminate the

pregnancy. (A233, A243). On several occasions, he assaulted her and/or tried to

force her to have sex with him. (A233). After she gave birth to their daughter,

Valerio objected to A.D. breastfeeding the child, and they argued over A.D.

9
 To protect her privacy, the lower court referred to her by her initials, and we
continue that practice in this brief.
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wanting to visit her mother in South Africa. (A233). After one such argument, she

called the police. However, the police officers who responded to the call suggested

that she had provoked Valerio, and they did not intervene. (A234, A241).10

      Thereafter, an altercation occurred in a car after A.D. became upset because

Valerio canceled plans to take her to a concert. (A234). Valerio assaulted her,

stopped the car in a parking lot, and told her she was going to die. (A234). A.D.

got out of the car, and as she was trying to retrieve her daughter from the back seat,

she was knocked to the ground. (A243). Valerio put her back in the car and drove

her home. (A235). The following day, A.D. went to a women’s shelter where she

stayed for a few weeks before she returned to live with Valerio. (A235).

      A similar incident occurred after Valerio was stopped by two female police

officers for driving the wrong way down a one-way street. Angered by this stop,

he drove her to a beach area where he beat and raped her and then drove her home.

(A236).

      On another occasion, Valerio punched AD in the mouth breaking her teeth

because she had entered his home office – a room that no one was allowed enter –

to bring him something to eat or drink. (A237). He agreed to take her to a dentist




      10
          On cross-examination, A.D. acknowledged that no physical abuse
occurred during this argument, and that she had refused to provide a statement to
police. (A242-243).
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only if she told the dentist she was accidentally hit with a baseball bat while

playing with her children. (A237).

      After this last incident, A.D. decided to leave with her daughter for South

Africa. (A237-238). Valerio let her go only after she promised that she would

return. (A237-238).

      A.D. acknowledged that in January 2015, she came to the United States to

visit the home of Valerio’s mother Frances.      A.D. also took her daughter by

Valerio to visit him at the Metropolitan Detention Center. (A239-240). During

2015, A.D. received a series of money transfers from Frances Valerio totaling

$31,265.00, which A.D. used to support her children. (A240-241, A245).

      Lucy Down testified that in October 2012, she was hired through an agency

as an au pair for Mr. Valerio’s daughter. During the drive to his home, Valerio

informed her that he did not have any children. He also spoke about a Halloween

party that he wanted her to attend dressed in nothing but panty hose. (A233, A238-

239). After Down arrived at Valerio’s home, she informed the au pair agency of

her misgivings about Valerio, and the agency sent a representative to pick her up.

(A234-235, A241). Valerio seemed surprised by Down’s departure, and he told

her that she should grow up and that she could have made a lot of money. (A234).




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       I.     Mental Health Experts’ Testimony Regarding Valerio

      Dr. Alexander Bardey, M.D., a board certified clinical and forensic

psychiatrist met with Valerio six times during which he interviewed him

extensively and administered a number of psychological tests including actuarial

tests that predict the likelihood of recidivism. (A262-266).       Dr. Bardey also

interviewed Valerio’s mother and sister, and an uncle who is a licensed social

worker therapist. Dr. Bardey submitted an extensive report to the District Court

and testified under oath.

      Dr. Bardey testified that Valerio’s father, Philippo, had sodomized him on a

regular basis, sometimes weekly, and would fondle Valerio while he was in the

shower. (A268). “Mr. Valerio reported that he had been the victim of sexual abuse

on 200 occasions between the ages of 5 and 11.” (A343). The sexual abuse

continued until Valerio “grew big enough and strong enough to fight off his

father's sexual advances.” (A274-275). However, emotional and verbal abuse

continued well into Valerio’s twenties. (A274). Valerio’s sister and mother

confirmed that from his teenage years onwards Valerio had a number of

altercations with his father. (A275).

      Valerio also reported that his sister had been sexually abused by their father.

His sister confirmed to Dr. Bardey that her father had sodomized her and that she




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had witnessed her father physically and emotionally abuse her mother and brother.

(A271, A290).

      As a child, Mr. Valerio was diagnosed as dyslexic. He had to repeat the first

grade and did fairly poor academically for years thereafter.

      Valerio became sexualized at a very early age. By age eleven, he was

masturbating, and by age twelve, he was trying to engage others in sexual behavior.

(A272). Such behavior, Dr. Bardey testified, “would be consistent with someone

who has been exposed early on to some sort of inappropriate sexual behavior.”

(A272).

      By middle school or early high school, Valerio began to abuse marijuana

and alcohol and then “rapidly moved on” to cocaine, pills, and hallucinogens.

(A273). He became a fairly significant substance abuser and sought assistance

from his uncle, a licensed social worker. (A273).

      Paralleling Valerio’s substance abuse was a growing interest in internet

pornography, featuring violent behaviors such as S&M (“Sadomasochism”) and

bondage. That interest eventually translated into what Valerio looked for in sexual

partners. (A274). He became involved with various “kinky sexual behaviors

including, threesomes and social gatherings involving sex.” (A276).

       Valerio worked for many years in his father’s tile business. He also started

buying real estate rental properties as well as homes that he repaired and sold at a

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profit. (A276). He also ran a credit repair business, and some of those clients got

him more involved with drugs and sexual activities. (A276-277).

      In his early twenties, Valerio was injured in an automobile accident and

“went out on a Workers' Compensation Leave.” (A278). He became addicted to

pain killers, and since he was idle, he spent even more time watching pornography.

(A278).

      Dr. Bardey opined that Valerio did not have “a very intense attraction to

minors under the age of 13 which would be the definition of pedophilia according

to our DSM V.” (A284).       Valerio’s primary interest was bondage and S&M

pornography, and not child pornography. Objective testing confirmed that Valerio

was interested in “young women, not under the age of 14.” (A279).

      Dr. Bardey believed that Valerio suffered from two “paraphilias, which are

sexual behavior disorders”: (1) frotteurism, which Dr. Barden defined as “rubbing

up and touching” strangers; and (2) voyeurism, which Dr. Barden defined as

“enjoying watching women unbeknownst to them in compromising positions.”

(A294).

      In addition, Valerio exhibited anti-social personality traits, specifically a

lack of empathy for others, a tendency to use people as a means to an end, and an

absence of any feelings of remorse or guilt. (A294-295). Dr. Bardey noted that in




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their initial sessions, Valerio “had very little understanding that what he had done

was wrong.” (A281).

      Dr. Bardey stated that Valerio’s sexual disorders, substance abuse, and anti-

social personality traits were related to the sexual abuse he suffered as a child:

             Early sexual abuse can have impact on the development
             of your brain. It can have an impact on your emotional
             development. It can have an impact on your manifesting
             issues with drugs, alcohol and other psychiatric disorders.
             (A296).

      In addition, Dr. Bardey noted in his testimony and in an extensive report

submitted to the District Court, that Valerio’s childhood experience of seeing his

father abuse his mother had:

             translated into his own anger toward women and then
             sexualized anger towards women. So it very much
             accounted for it. (A314).

      In the course of their meetings, Dr. Bardey “saw an evolution” in Valerio.

(A281, A295). Valerio began to show remorse and to talk of himself as someone

who needed to change. (A281, A295). Dr. Bardey believed that the changes he

saw in Valerio were genuine. (A281-282).

      Based upon “his evaluation and the results of the various actuarial risk

assessment tools that he employed,” Dr. Bardey estimated that Valerio posed a




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“moderate risk of reoffending.”11 Dr. Bardey explained that Valerio’s progression

to the point where he was beginning to view his behavior as wrong and felt regret

for what he had done indicated that Valerio could respond positively to treatment.

(A286-287). The purpose of such treatment would be to help Valerio realize the

traumatizing effect his behavior had on other people and to teach him techniques

for impulse control and avoidance of places and situations that would facilitate

inappropriate sexual behavior. (A287).

      At the conclusion of his testimony, Dr. Bardey also noted that Valerio had

informed him that he had had thyroid cancer. (A315). As acknowledged in the

presentence report, medical records confirm that in 2003, half of Valerio’s thyroid

was surgically removed, and he underwent radiation treatment. (Pre-Sentence

Report ¶ 94).

      Maura Gordon, a social worker with a certification in trauma, testified that

she had conducted a pyscho-social evaluation of Valerio’s sister, Bernadette

Imperiale, and his mother, Frances Valerio.

      Imperiale told Gordon that from age four to age eight she was sexually

abused by her father. He would enter her room when she was trying to sleep and

11
   On cross-examination, Dr. Bardey explained that the actuarial tables considered
only crimes for which an individual had been convicted. Consequently,
Kalichenko’s and A.D.’s allegations of rape were not included in the objective risk
assessments. (A308). However, assuming arguendo that Kalichenko’s and A.D.’s
rape allegations were true, targeted sex offender treatment could still reduce the
risk of recidivism. (A313-314).
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attempt to penetrate her with his penis. (A320). He threatened to harm her if she

told anyone about this abuse. (A320).

      Asked if Imperiale’s allegations might be fabrications to aid her brother,

Gordon replied that Bernadette’s affect while describing this abuse was “very flat.”

(A320). She seemed to be very removed from her emotions when talking about her

life and the violence that she had observed, and such behavior was “the normal

type of thing when there is sexual abuse involved in a young person's life.” (A320).

      In addition, Imperiale admitted that when she was in her teens and twenties,

she feared that her father would react violently if she had any physical interaction

with boys. Gordon noted that such fears were consistent with a history of sexual

abuse. (A319, A321-322). Also, Frances Valerio told Gordon that she had seen her

husband in bed once with Bernadette. (A321-322).         For all of these reasons,

Gordon believed that it was more likely than not that the abuse Imperiale described

had actually occurred. (A320).

      Frances Valerio, whom Gordon was counseling, acknowledged that her

husband had physically and sexually abused her as well as their children. (A322).

The physical abuse that Frances Valerio had suffered was corroborated by a scar

that went into the top of her lip and by Bernadette who had witnessed this abuse.

(A325).




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       J.      The Government’s Demand for a De Facto Life Sentence

      The Government argued that the Sentencing Guidelines called for the

imposition of an “Effective Life Sentence.” Government Sentencing Memorandum,

District Court Docket Entry 144, filed May 8, 2017 (hereinafter “GSM”) at 9.

Although it acknowledged that Valerio’s crimes of conviction did not authorize a

sentence of life imprisonment, the Government claimed nevertheless that an

effective life sentence was warranted because the Guidelines sentence was “410

years, an effective life sentence.”

      According to the Government, the Guidelines indicated such a benchmark

because Valerio “has a total offense level of 47 and criminal history category of I,

which would result in an advisory range of imprisonment of life.” GSM at 9.

Although none of the crimes of conviction authorized life imprisonment, the

Guidelines’ benchmark of a life sentence could nevertheless be achieved by

stacking the terms of years imposed on the counts of a conviction to produce an

aggregate sentence that would ensure that Valerio spent the rest of his life in prison.

GSM at 9.

      The Government also maintained that an effective life sentence was

appropriate under the sentencing factors set out 18 U.S.C. § 3553 (a). In essence,

the Government argued that Valerio’s child pornography conviction demonstrated

he was willing to go to any lengths “to satisfy his criminal desires.”    Comparing

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him to pedophiles, the Government claimed that “sexual predators,” pose a higher

rate of recidivism than other offenders, asserting that “even into old age, their urge

to engage in illegal sex remains acute.” GSM at 13.

      The Government also argued that imposition of the mandatory statutory

minimum sentence “would result in inequity whereby the defendant would receive

a sentence commensurate with offenders who did not exploit multiple children

over a period of years.” GSL at 13.

      Defense counsel noted that the Government’s 410-year estimate was

premised was upon a mistaken expectation that Valerio would be sentenced on all

the counts upon which he was convicted. Defendant’s Sentencing Memorandum

Supplement, District Court Docket Number 147, filed June 6, 2017 (hereinafter

“DSM”), at 2, n.2. However, defense counsel argued (A141-142, A168-169), and

the District Court ultimately ruled (A171, A358), that Counts Nine through

Thirteen should be dismissed because they merged into Count Two. If the

remaining counts were stacked, as the Government argued they should be, that

would produce a total sentence of 260 years, which was still not an appropriate

sentence for Valerio. DSM at 2 & n. 2.

      Defense counsel noted that assuming a life expectancy of 77.4 years, good

time credits, and credit for his time in jail prior to imposition of sentence, even 34

years would be a life sentence for Valerio. DSM at 2 & n. 1. However, the main

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thrust of defense counsel’s argument was that a de facto life sentence was not

warranted regardless of whether it was 34 years or 35 years (the total sentence

originally recommended by the Probation Department); or the 60 year total

sentence recommended in the amended presentence report. (A367). DSM at 1-2.

      Defense counsel argued inter alia that, as Dr. Bardey had concluded, Valerio

was not a pedophile. Valerio’s mental disorders and substance abuse problems

were the result of the sex abuse he had suffered and witnessed as a child. (A361-

362). Moreover, Valerio had begun to recognize the causes of his anti-social

behavior. Consequently, defense counsel and Valerio pleaded for a sentence that

would allow him to eventually rejoin society. (A366, A370-374).

       K.     The District Court’s Reasons for Imposing
              a De Facto Life Sentence

      The District Court assumed that the advisory Guideline, or benchmark

sentence, was 260 years – the total sentence the District Court calculated by

stacking the sentences on the counts remaining after dismissal of the attempt

counts that merged into Count Two. (A358-359).

      The primary reason the District Court gave for imposing a de facto life

sentence was its belief that the evidence at trial “demonstrate[d] the defendant to

be extremely violent and dangerous and a clear and compelling danger to the

community,” in particular children and women. (A378-382).



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      The District Court also found that Valerio’s 2006 misdemeanor conviction

for attempted forcible touching of a woman in a wave pool, and the testimony of

Kalichenko and A.D. at the Fatico hearing, regarding physical and sexual assaults

and death threats, demonstrated that he was a danger to women as well as children.

The District Court opined that there were no limits on what Valerio would do “to

satisfy his sexual desires to women or to children” and that his level of

dangerousness would not diminish over time. (A382-383).

      The District Court believed that Dr. Bardey had underestimated the risk of

recidivism because he had not taken into account Valerio’s violence towards Ms.

Kalichenko or A.D. (A384-385); Valerio had sex offender treatment after his 2006

conviction but had still re-offended (A385); Valerio committed the crimes of

conviction when he was a relatively mature man; and it had taken several years and

sessions with Dr. Bardey before Valerio began to experience any feeling of

remorse for his actions. (A386).

      The District Court added that it had also considered general deterrence.

While it was not “the driving force” behind its sentence, the District Court believed

that “extremely severe sentences should be imposed to “send a message to others

out there victimizing children in the way that Mr. Valerio did in this case.” (A383).

      The District Court also maintained that the sentence imposed was not

disproportionately harsh compared to other cases cited by defense counsel,

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although it admitted that it had not examined the facts of those cases. It also noted

that the Government had cited cases where even longer sentences had been

imposed. Finally, the District Court stated that it was aware of this Court’s cases

expressing concern about the imposition of life sentences in non-capital cases, i.e.,

United States v. Brown, 843 F.3d 74 (2d Cir. 2016) and United States v. Ulbricht,

858 F.3d 71 (2d Cir. 2017), and it acknowledged that it had “never sentenced

anyone to this amount of time that did not involve a murder.” (A387). However,

the District Court maintained that “60 years imprisonment, which is effectively a

life sentence is warranted, sufficient and no greater than is necessary.” (A383).

                                   ARGUMENT

                                      POINT I

        STATEMENTS ELICITED FROM VALERIO BEFORE HE
       RECEIVED MIRANDA WARNINGS MUST BE SUPPRESSED
            BECAUSE HE WAS IN CUSTODY WHEN THE
             PRE-MIRANDA QUESTIONING OCCURRED

       At 6:00 a.m. on a cold January day, a dozen law enforcement officers from

three different agencies descended upon Valerio’s home to execute a search

warrant. Isolated from the only other occupant of his home, his girlfriend, Valerio

was questioned for an hour and thirty minutes by a team of four law enforcement

law officers who confronted him with e-mail exchanges between himself and

Kalichenko to elicit an admission that Valerio had received child pornography

from her that she had created at his request. Only after Valerio had acquiesced, did
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the law enforcement agents advise him of his rights to remain silent and to the

assistance of counsel. They then continued their questioning to have him reiterate

the incriminating admissions they had obtained prior to giving him Miranda

warnings.

      It is established beyond cavil that a person who is “in custody” must, prior to

questioning by law enforcement agents, be advised of his right to remain silent and

to have the assistance of an attorney, the advice which has come to be known as

the “Miranda warnings.” Miranda v. Arizona, 384 U.S. 436, 444 (1966); Tankleff

v. Senkowski, 135 F.3d 235, 242 (2d Cir. 1998).         Statements which are not

preceded by Miranda warnings are not admissible on the prosecutor’s case in chief.

United States v. Newton, 369 F.3d 659, 668 (2d Cir. 2004).

      As the following paragraphs will demonstrate, a reasonable person in

Valerio’s circumstances would not conclude that he could have refused to answer

the questions posed to him by law enforcement agents who had occupied his home

and that Valerio was subjected to such significant, arrest-like limitations upon his

liberty as to render, the questioning that occurred custodial. Consequently, his

questioners were obligated to advise him of his right to remain silent and to the

assistance of counsel.




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       A. No Reasonable Person in Valerio’s Circumstances
          Would Believe He Was Free to Refuse to Submit
          to Questioning.

       “A person is in custody for purposes of Miranda if a reasonable person in

the suspect's shoes would not have felt free to leave under the circumstances.”

United States v. Ali, 86 F.3d 275, 276 (2d Cir. 1996) (internal punctuation and

citation omitted). Indeed, even without an actual arrest, an accused is “in custody”

when “law enforcement officials act or speak in a manner that conveys the

message that they would not permit the accused to leave.” Id.

      The District Court’s conclusion that a reasonable person in Valerio’s

circumstances would have concluded that he was free to end questioning by law

enforcement simply by leaving his home12 runs counter to the facts of this case,

common sense, and reason.

      First, leaving one’s home is hardly a viable way to exercise one’s right to

refuse to speak law enforcement.       One’s home is the most constitutionally

protected place on earth. Consequently, the right to terminate the interrogation by

walking away from one’s interrogators is hollow if the one place that the individual

cannot retreat to, or exclude law enforcement from, is his own home. United

States v. Craighead, 539 F.3d 1073, 1082-83 (9th Cir. 2008).


12
  The District Court’s focus, on the issue of whether a reasonable person would
have felt free to leave his own home, implicitly concedes that Valerio could not
have ejected his interrogators from his home.
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      Second, a man who cannot move freely about his own home is not at liberty

to take the far more radical step of leaving it. The District Court simply ignored

substantial and essentially undisputed evidence that Valerio was not free to move

about within his own home. Consequently, the District Court’s conclusion that

there was nothing keeping Valerio in his house ignores overwhelming evidence to

the contrary.

      Indeed, Agent Troyd’s testimony establishes that, from the time twelve law

enforcement agents entered his home, Valerio was deprived of his freedom of

movement. When agents first entered his residence and Valerio attempted to go to

the second floor where Ms. Bereskova, his girlfriend, was, Troyd stopped him

from doing so. Similarly, when, during the course of the questioning in the dining

room, Valerio wanted water, he was not permitted to go to his own kitchen to get it.

      The District Court’s claim that no one blocked Valerio from leaving the

dining room and exiting his home is dubious. Troyd’s testimony establishes that

his supervisor, Agent Dawn Smallwood, was standing in the hallway between the

family room and the dining room and “intermittently she would walk past the

dining room” while Valerio was being questioned. (A60-61).

      Although Troyd suggested in his testimony that once in the hallway, Valerio,

would have had access to the front door, Valerio, who was wearing only long pants

and a tank top, lacked the proper clothing to leave his home. Troyd testified that

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the weather was so cold that the search party wore jackets over their ballistic armor,

and that when Valerio was finally removed from his home, the agents put a jacket

on him because of the cold. Thus, the inclement weather made it highly unlikely

that a reasonable person in Valerio’s circumstances would have considered leaving

the house a viable means of ending questioning by law enforcement agents.

      Just because an individual decides not to attempt to eject twelve law

enforcement officers from his home or to defy their orders that he remain in a

specific part of his home, we cannot assume he or she does not meet Miranda’s

definition of custody. “[W]hen the number of law enforcement personnel far

outnumber the suspect, the suspect may reasonably believe that, should he attempt

to leave, he will be stopped by one of the many officers he will encounter on the

way out.” Craighead, 539 F.3d at 1084-1085.

       B.      Valerio’s Freedom of Action Was Limited
               to the Degree Associated with A Formal Arrest.

      Under existing precedents, the question of whether a reasonable person in

Mr. Valerio’s circumstances would have considered himself free to terminate all

questioning by leaving his home is “a necessary, but not determinative, first step”

in assessing whether he was in custody for the purposes of Miranda. This is

especially the case in circumstances like Mr. Valerio’s where questioning takes

place simultaneously with the execution of a search warrant. In such cases, a court

must ask:
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             whether, in addition to not feeling free to leave, a
             reasonable person would have understood his freedom of
             action to have been curtailed to a degree associated with
             formal arrest. Only if the answer to this second question
             is yes was the person ‘in custody’ for practical purposes,
             and entitled to the full panoply of protections prescribed
             by Miranda.

Newton, 369 F.3d at 672.

      The District Court’s finding that a reasonable person in Valerio’s

circumstances would not have understood his freedom of action to have been

curtailed to a degree associated with formal arrest defies logic and common sense.

      First, the District Court ignored the complete loss of personal autonomy and

privacy that resulted from the presence of twelve law enforcement agents from

three different law enforcement agencies in Valerio’s home. Instead, the District

Court suggested that a reasonable person would have known that a dozen law

officers were there merely to search his home and would not have inferred from

their presence that he was about to be arrested.13

      Miranda warnings are not only required when a person believes that he is, or

is about to be, arrested, but also when circumstances are such that the person

experiences the same loss of liberty and autonomy as an arrestee. Consequently,

even if Valerio assumed that the only reason for the presence of so many law


13
  The District Court’s assumption that a reasonable person knows or can even
estimate how many law enforcement officers it takes to execute a search warrant is
patently unreasonable.
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enforcement officers in his house was that the search required that many officers,

he was still entitled to Miranda warnings due to the loss of personal autonomy

caused by their presence:

            When a large number of law enforcement personnel enter
            a suspect's home, they may fill the home such that there
            are no police-free rooms or spaces to which the suspect
            may retreat should he wish to terminate the interrogation.

Craighead, 539 F.3d at 1084-1085. See also United States v. Mittel–Carey, 493

F.3d 36, 40 (1st Cir. 2007) (in-home interrogation custodial where, inter alia,

search conducted early in the morning by eight officers, and officers exercised

physical control over defendant); United States v. Hashime, 734 F.3d 278, 284 (4th

Cir. 2013) (officers presence everywhere in suspect’s home and controlling what

occupants could do and where they could go militated in favor of finding that

interrogation was custodial); United States v. Cavazos, 668 F.3d 190, 194 (5th Cir.

2012) (entry of large number agents early in the morning and continual monitoring

of Cavazos's subsequent movement about his home contributed to custodial nature

of questioning).

      As noted above, Agent Troyd’s testimony establishes that Valerio was not

even permitted to get himself a glass of water while he was being questioned in the

dining room. He was kept isolated from the only other person in his house who

was not a law enforcement officer, his girlfriend, Ms. Bereskova. Nor would he

have had access to any part of his home – except perhaps the hallway between the
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dining and the family room where Ms. Bereskova was confined, and even there he

would still have remained under the watchful eye of Troyd’s supervisor, Agent

Dawn Smallwood.

      Second, the District Court construed Valerio’s apparent calmness and

responsiveness to his interlocutors as an indication that the circumstances in which

was questioned were not custodial. However, the Supreme Court has emphasized:

             the subjective views harbored by either the interrogating
             officers or the person being questioned are irrelevant.
             The test, in other words, involves no consideration of the
             actual mindset of the particular suspect subjected to
             police questioning.

J.D.B. v. North Carolina, 564 U.S. 261, 262 (2011).

Consequently, the District Court erred by inferring from Valerio’s calm mental

state that the circumstances of Valerio’s interrogation were not custodial.

      For similar reasons, it is irrelevant whether Agent Troyd or his colleagues

began their questioning with the intent to arrest Valerio. What matters is not the

state of mind of Troyd and other law enforcement agents but how their conduct

towards Valerio would have been interpreted by a reasonable man in his

circumstances.

      The District Court also erroneously placed considerable weight upon the fact

that Valerio was not handcuffed or subjected to other physical restraints or touched

during questioning; no weapons were displayed; and no verbal threats were

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directed at him. Although such conduct would undoubtedly have served to further

impress upon Valerio that he was no longer the master of his own house, such

theatrics were unnecessary given the restrictions to which he was already subject.

“[C]oercion can be mental as well as physical, and the blood of the accused is not

the only hallmark of an unconstitutional inquisition.” Arizona v. Fulminante, 499

U.S. 279, 287 (1991) (quoting Blackburn v. Alabama, 361 U.S. 199, 206 2d 242

(1960).

      Finally, the District Court erred by finding that Troyd’s belief that he lacked

probable cause to arrest Valerio somehow dispelled the custodial aura of Troyd’s

questioning. Clearly, Troyd’s state of mind regarding the presence or absence of

probable cause could not have been known to Valerio, who was obviously not a

mind reader.

      However, Troyd must have realized that the search warrant issued for

Valerio’s home implied there was sufficient evidence to convince a magistrate that

there was probable cause to believe that evidence implicating Valerio in the

production and possession of child pornography would be found in Valerio’s home.

This is significant because “[t]he more cause for believing the suspect committed

the crime, the greater the tendency to bear down in interrogation and to create the

kind of atmosphere of significant restraint that triggers Miranda, and vice versa.”

United States v. Hall, 421 F.2d 540, 545 (2d Cir. 1969).

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       Moreover, Troyd’s arrival at Valerio’s residence fully prepared and armed

with e-mails and videos to conduct a full-blown interrogation of Valerio as well as

the length of the pre-Miranda questioning would have communicated to any

person in Valerio’s shoes that Troyd and the three other law enforcement agents

questioning him were not there to engage in small talk or to indulge their personal

curiosity about the e-mails. Their interrogation tactics created exactly the sort of

inherently coercive environment that Miranda warnings are intended to prevent or

at least dispel.

       Indeed, the questioning of Valerio occurred under such coercive

circumstances that his statements “cannot be said to be the voluntary product of a

free and unconstrained will, as required by the Fourteenth Amendment.” Haynes v.

Washington, 373 U.S. 503, 514 (1963). Oregon v. Elstad, 470 U.S. 298, 304

(1985). Haynes v. Washington, 373 U.S. 503, 514 (1963). Therefore, they are

inadmissible under a Due Process analysis as well as the broader prophylactic rule

of Miranda.

       To recapitulate, all statements that Valerio made before he received the

Miranda warnings should have been suppressed because they are the product of

custodial questioning and are involuntary even under a Due Process analysis.

Furthermore, for the reasons stated in Point II infra, the statements Valerio made




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from the time he received Miranda warnings until the time he was removed from

his home should also have been suppressed.

                                      POINT II

                VALERIO’S POST-MIRANDA STATEMENTS
                       MUST BE SUPPRESSED

      If interrogators deliberately employ a two-step interrogation process to

circumvent Miranda, post-warning statements must be excluded, unless curative

measures are taken before the post- warning statement is made. Seibert v. Missouri,

542 U.S. 600, 605–606 (2004) (plurality opinion); United States v. Faust, 853 F.3d

39, 48 (2d Cir. 2017); United States v. Capers, 627 F.3d 470, 474 (2d Cir. 2010).

      A court must “review the totality of the objective and subjective evidence

surrounding the interrogations in order to determine deliberateness, with a

recognition that in most instances the inquiry will rely heavily, if not entirely, upon

objective evidence.” Capers, 627 F.3d at 479. Such objective factors include “the

timing, setting, and completeness of the pre-warning interrogation; the continuity

of police personnel; and the overlapping content of the pre-warning and post-

warning statements; and subjective factors such as the testimony of interrogators

regarding their intent.”   Capers, 627 F.3d at 478. The Government bears the

burden of disproving deliberateness. Capers, 627 F.3d at 479.

      A consideration of these objective factors compels the conclusion that Agent

Troyd deliberately used a two-step strategy. Delaying the Miranda warnings until
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after Troyd had elicited a confession ensured Valerio would not invoke his rights

to remain silent and the assistance of counsel until after the assertion of those

rights would be an exercise in futility.

      The post-warning questioning concerned the same topics that were covered

in the pre-warning questioning and added little to the admissions that Valerio made

prior to receiving the Miranda warnings. Indeed, Valerio’s post-Miranda

statements were virtually the same as his pre-Miranda statements. One of the two

e-mails about which Valerio was questioned after he received the Miranda

warnings was the same e-mail about which he had been questioned before he

received the Miranda warnings. The other e-mail came from the same time frame.

      Exactly the same police personnel conducted the pre-warning and the post-

warning questioning, and both the pre-warning and the post-warning questioning

occurred in the same location. There was no substantial break in time between the

pre-warning and the post-warning questioning.

      As for the subjective factors, the reason Troyd proffered for delaying

Miranda warnings – his alleged uncertainty as to whether he had probable cause to

arrest Valerio – is simply no excuse for the delaying the Miranda warnings. There

is no exception to Miranda that permits delaying the warnings until after police

have decided whether they have probable cause to arrest a suspect subjected to

custodial questioning. Capers, 627 F.3d at 480-481. Consequently, the statements

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Valerio made after he finally received Miranda warnings should have been

suppressed.

        To recapitulate, the absence of Miranda warnings renders Valerio’s pre-

warning and post-warning statements inadmissible on the Government’s direct

case.    Because the Government relied upon both Valerio’s statements as

compelling evidence of his guilt, the District Court’s failure to grant Valerio’s

suppression motion may not be dismissed as mere harmless error. The Court

should vacate his convictions and preclude the admission of those statements at

any retrial.

                                    POINT III

            MULTIPLE PROCEDURAL DEFECTS RENDER
        VALERIO’S DE FACTO LIFE SENTENCE UNREASONABLE

        Valerio’s de facto life sentence is procedurally unreasonable for three

reasons. First, it is premised in large part on highly inflammatory testimony about

mistreatment of adult women that either preceded or is collateral to Valerio’s

crimes of conviction.     The District Court’s reliance upon these uncharged

allegations to impose a life sentence violated Valerio’s Sixth Amendment right to a

jury trial and his Fifth Amendment right to Due Process. Second, the District

Court’s “invitation” to Olena Kalichenko to testify at this Fatico hearing made that

court a partisan and compromised the integrity of the proceedings.       Third, the



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District Court’s choice of the wrong Guideline as a benchmark practically ensured

the imposition of a substantively unreasonable sentence.

        A.     The District Court’s Use of Uncharged Allegations to Punish
               Valerio Violated his right to a Jury Trial and his right to Due
               Process.

       Although Williams v. New York, 337 U.S. 241 (1949) and 18 U.S.C. § 3553

permit a sentencing court to consider a wide range of information that was not

presented to a jury, they do not grant a court carte blanche to punish a defendant

for transgressions that the Government has not proved to a jury beyond a

reasonable doubt.

       As Justice Scalia explained in his opinion for the Court in Blakely v.

Washington, 542 U.S. 296, 305-306 (2004), the right to a jury trial is:

               no mere procedural formality, but a fundamental
               reservation of power in our constitutional structure. Just
               as suffrage ensures the people's ultimate control in the
               legislative and executive branches, jury trial is meant to
               ensure their control in the judiciary.

       Moreover, requiring that certain facts used to increase a defendant’s

sentence beyond a statutory maximum be admitted by the defendant or proved to a

jury beyond a reasonable doubt ensures that “the judge's authority to sentence

derives wholly from the jury's verdict.” Blakely, 542 U.S at 306. Without that

restriction:

               a judge could sentence a man for committing murder
               even if the jury convicted him only of illegally
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             possessing the firearm used to commit it– or of making
             an illegal lane change while fleeing the death scene. Not
             even Apprendi's critics would advocate this absurd result.
             Cf. 530 U.S., at 552-553, 147 L. Ed. 2d 435, 120 S. Ct.
             2348 (O'Connor, J., dissenting). The jury could not
             function as circuitbreaker in the State's machinery of
             justice if it were relegated to making a determination that
             the defendant at some point did something wrong, a mere
             preliminary to a judicial inquisition into the facts of the
             crime the State actually seeks to punish.

Blakely, 542 U.S at 306-307.

      Although strictly speaking, Valerio’s sentence does not exceed a statutory

sentence, in a practical sense it does. The term of years imposed by the District

Court constitutes a de facto life sentence, even though the statutes under which he

was convicted do not carry a penalty of life imprisonment.

       Moreover, the impetus for this de facto life sentence is supplied in large part

by acts which were never proven beyond a reasonable doubt. Consequently, the

District Court’s reliance upon uncharged conduct implicates a panoply of

procedural Due Process rights, including the guarantee that he could not be

adjudicated guilty of these offenses except upon proof beyond a reasonable doubt.

      Allowing courts to enhance a sentence on the basis of uncharged

transgressions not proven to a jury is fundamentally unfair because it enables:

             prosecutors to circumvent the criminal justice system by
             declining to formally charge a defendant with certain
             conduct yet introducing evidence of that conduct at
             sentencing. The prosecutor escapes the burden of
             proving such conduct beyond a reasonable doubt, while
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             at the same time obtains the punitive benefit as if the
             conduct had been proven–essentially achieving a “double
             conviction”–because the sentencing court will almost
             always rely on that conduct.

Kathryn M. Zainey, The Constitutional Infirmity Of The Current Federal
Sentencing System: How The Use Of Uncharged And Acquitted Conduct To
Enhance A Defendant's Sentence Violates Due Process, 56 Loy. L. Rev. 375, 400
(2010).

      In United States v. Ulbricht, 858 F.3d 71, 125-129 (2d Cir. 2017), this Court

declined to a find that a sentencing court’s decision to consider uncharged crimes

violated that defendant’s rights. Nevertheless, this Court also disapproved of (1)

prosecutors offering “emotionally wrenching” and inflammatory evidence of

uncharged crimes to elevate a sentence; and (2) sentencing courts admitting such

evidence and using it for that purpose. The District Court here failed to heed this

admonition. To the extent A.D.’s and Kalichenko’s testimony about physical and

sexual abuse unrelated to the crimes of conviction were a consideration in the

District Court’s decision to impose a de facto life sentence, it was error.

      B. The District Court Erred by “Inviting”
        Kalichenko to Testify.

      Although the Government argued that Valerio’s alleged physical abuse of

Kalichenko was a factor that militated in favor of a life sentence, it declined to call

her as a witness to prove such abuse. The District Court, however, “invited her to

testify” at a Fatico hearing about such abuse.



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      As Judge Learned Hand counseled, “it is seldom very desirable, for a judge

to call and examine a witness whom the parties do not wish to call.” United States

v. Marzano, 149 F.2d 923, 925 (2d Cir. 1945). The instant case demonstrates the

wisdom of that advice.

      First, “as Townsend v. Burke, 334 U.S. 736 (1948), recognizes, due process

requires that a convicted person not be sentenced on ‘materially untrue’

assumptions or ‘misinformation.’” United States v. Pugliese, 805 F.2d 1117, 1123

(2d Cir. 1986). Consequently, a sentencing court has an obligation “to assure itself

that the information upon which it relies when fixing sentence is reliable and

accurate.” Pugliese, 805 F.2d at 1124; United States v. Prescott, 920 F.2d 139,

143 (2d Cir. 1990).

      Kalichenko was so lacking in candor that the Government’s decision not to

use her as a witness was all but inevitable.14 Indeed, the Government’s lawyer

conducted the direct examination of Kalichenko at the Fatico hearing only because

the Court requested him to do so. Significantly, that lawyer had Kalichenko

confirm that the Government had not even met with her to discuss her testimony.


14
  The Government did not state why it had declined to call Kalichenko as a
witness at the Fatico hearing. However, the trial evidence showed that at roughly
the same time she was “cooperating” with the FBI in Kiev, Kalichenko told
Valerio that she would stop providing videos to the FBI if he were willing to pay
her for her silence. That is exactly the sort of behavior that would normally result
in the Government rejecting an offer to cooperate or to revoke an existing
cooperation agreement with a defendant.
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      Just as a prosecutor has a duty not to introduce evidence that is likely to be

false, a sentencing judge has a duty not to rely on such evidence. Here the District

Court not only relied upon unreliable evidence, it introduced that evidence – i.e.,

Kalichenko’s testimony – despite the obvious red flags raised by the Government’s

unwillingness to call her as its witness.

      Second, a trial judge's isolated questioning to clarify ambiguities is one

thing; however, “a trial judge cannot assume the mantle of an advocate.” United

States v. Beaty, 722 F.2d 1090, 1095 (3d Cir. 1983). Kalichenko’s Fatico hearing

testimony, however, was not aimed at clarifying prior testimony. Her primary

function was to provide testimony about uncharged crimes that could be used to

support a harsher sentence for Valerio. In this regard, her function was that of

prosecution witness, even though the Government had declined to call her.       For

this reason, the District Court by “inviting” Kalichenko to testify assumed the

mantle of an advocate, a role that is “inconsistent with that detachment and

aloofness which courts have again and again demanded, particularly in criminal

trials.” Marzano, 149 F.2d at 926.

      Third, the District Court’s “invitation” to Kalichenko was improper because

“[p]rosecution and judgment are two quite separate functions in the administration

of justice; they must not merge.” Marzano, 149 F.2d at 926. Ultimately, the

District Court had to decide the credibility of Kalichenko’s Fatico hearing

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testimony and the weight it should be given.15 However, as Judge Hand observed

in Marzano, the same person should not be entrusted with these two incompatible

functions.

      Fourth, when a court “invites” a defendant, who the court will sentence, to

testify on a matter of concern to the court, that “invitee” is likely to construe such

an “invitation” as something more than a mere suggestion that she should testify.

      Indeed, such an “invitation” carries with it the possibility of a longer

sentence if it is declined and leniency if it is accepted. Consequently, courts should

avoid giving such “invitations.” Cf. United States v. Goodwin, 770 F.2d 631, 636-

637 (7th Cir. 1985) (disapproving judge’s advice to defendant that her only chance

at acquittal was to testify and noting that it bordered on coercion). United States v.

Giraldo, 822 F.2d 205 (2d Cir. 1987) (the district court improperly used a 40-year

sentence – which it vacated after a recalcitrant witness reversed his refusal to

testify – to coerce the witness to testify).

      At the Fatico hearing, Kalichenko testified that the Government had made

her no promises. However, she also acknowledged that she was testifying in hopes

of obtaining leniency when the District Court sentenced her on the child

pornography crimes to which she had pleaded guilty. (A210-211).


15
  Not surprisingly, the District Court decided that the witness it had “invited” to
testify was “extremely credible” (A382).

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      In summary, the District Court’s “invitation” to Kalichenko to testify

compromised the integrity of the proceedings because it (1) interjected into the

proceedings testimony from a witness that the Government apparently deemed too

unworthy of belief to call as its witness; (2) made the District Court an advocate;

(3) resulted in the District Court passing upon the veracity of the very testimony it

had interjected into the proceedings; and (4) could be misconstrued by Kalichenko

as an implicit promise by the District Court of leniency if she testified.

        C.   The District Court Used the Wrong Benchmark.

      Where a district court uses an incorrect Guidelines calculation as a

benchmark for calculating or devising a non-Guidelines sentence it commits a

procedural error reviewable by this Court. United States v. Dorvee, 616 F.3d 174,

181-182 (2d Cir. 2010); United States v. Fagans, 406 F.3d 138, 141 (2d Cir.2005).

      Applying U.S.S.G. §2G2.1, the United States Probation Department set

Valerio’s Combined Adjusted Offense Level at 42, and as a consequence of

U.S.S.G. §4B1.5(b)(1), it added five more levels, which resulted in a Total Offense

Level of 47.16 The highest level on the sentencing table is 43, which calls for a


16
  This offense level is typical of the grossly inflated offense levels produced by the
child pornography guidelines which, unlike the Guidelines for other offenses, are
not the product of the Sentencing Commission’s research and technical expertise.
Dorvee, 616 F.3d at 184-185, citing Alan Vinegrad, The New Federal Sentencing
Law, 15 Fed. Sent. R. 310, 315 (June 2003) (child pornography Guidelines were
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sentence of life. United States Sentencing Commission, Guidelines Manual (2014),

Chapter 5, p. 400.

      Although none of the statutes under which Valerio was convicted authorized

a life sentence, the Government argued, and the Court ultimately agreed, that the

life sentence indicated in the sentencing chart should provide guidance or serve as

an advisory sentence or benchmark that indicated that Valerio should receive an

effective sentence of life.    The District Court ultimately concluded that the

advisory Guidelines, or benchmark sentence, was 260 years (A358-359), a number

it achieved by stacking all the sentences to be imposed on each count on which it

would sentence Valerio.

      In fact, the advisory sentence or benchmark sentence here is not a life

sentence as the Government and the Court extrapolated from U.S.S.G. §2G2.1 and

the sentencing chart. The correct benchmark is found in U.S.S.G §5G1.1(a), which

provides:

              Where the statutorily authorized maximum sentence is
              less than the minimum of the applicable guideline range,
              the statutorily authorized maximum sentence shall be
              the guideline sentence. (emphasis supplied).

      Indeed, the Government and the District Court here made the same mistake

that led this Court to vacate the sentence in Dorvee. In that case the District Court

virtually dictated by Congress who marginalized the role of the Sentencing
Commission in the federal sentencing process).

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found that U.S.S.G. §2G2.2 required a sentence of 262 to 327 months, a range

which exceeded the maximum sentence authorized by the statute under which the

defendant was convicted. Nevertheless, the sentencing court in Dorvee used the

262-to-327-months range as a benchmark or reference point for the sentence it

imposed.      This Court, however held, in sum and substance, that U.S.S.G

§5G1.1(a) made the statutory maximum sentence the Guidelines or advisory

sentence or benchmark sentence. Consequently, the sentencing court’s use of the

Guidelines sentencing range that exceeded the statutory maximum (262 to

327months) as the starting point for its sentencing decision rendered the sentence

procedurally unreasonable. Dorvee, 616 F.3d at 181.

      This Court’s decision in Dorvee establishes beyond cavil that the Guidelines

benchmark or sentence in this case is provided by U.S.S.G § 5G1.1(a). 17

Furthermore, § 5G1.1(a) must be read in tandem with U.S.S.G. § 5G1.2(c), which

provides:

              If the sentence imposed on the count carrying the
              highest statutory maximum is adequate to achieve the
              total punishment, then the sentences on all counts shall
              run concurrently, except to the extent otherwise required
              by law. (emphasis supplied).


17
   Moreover, using a Guidelines range beyond the statutory maximum as the
benchmark for sentencing is logically inconsistent with Congress’ decision to set
the statutory maximum sentence below any benchmark or advisory sentence
indicated by the Guidelines.

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U.S.S.G. §5G1.2(c).

      The application of U.S.S.G §5G1.1(a) and U.S.S.G. §5G1.2(c) would

produce a benchmark sentence in the realm of, or starting at, 30 years. Indeed, the

Probation Department’s initial recommendation was a sentence to a total term of

35 years.18

      In summary, the District Court committed a procedural error when it used

260 years to life as a benchmark for imposing a de facto sentence of life

imprisonment.

                                     * * *

      Because the errors outlined above render Valerio’s sentence procedurally

unreasonable, this Court should vacate his sentence. Moreover, this matter should

be remanded to a different judge for resentencing because the judge who sentenced

Valerio (1) “would reasonably be expected upon remand to have substantial

difficulty in putting out of his or her mind previously-expressed views or findings

determined to be erroneous or based on evidence that must be rejected”; and, (2)

“reassignment is advisable to preserve the appearance of justice.” United States v.


18
   The Probation Department’s initial recommended sentence was 30 years on
Counts 1 through 3 and 6 through 14 to run concurrently; 20 years on Counts 4 and
5 to run concurrently to the sentence imposed upon Counts 1 through 3 and 6
through 14; five years on Count 15 to run consecutively to the sentences imposed
on the other counts. See, Pre-Sentence Report, U.S. Probation Department
Sentencing Recommendation.

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Awadallah, 436 F.3d 125, 135 (2d Cir. 2006); United States v. Robin, 553 F.2d 8,

10 (2d Cir. 1977) (per curiam).

                                    POINT IV

              THE DE FACTO LIFE SENTENCE VALERIO
            RECEIVED IS SUBSTANTIVELY UNREASONABLE

      Review of a sentence for substantive reasonableness is governed by the

factors set forth in 18 U.S.C. §3553(a), including the need for the sentence to

reflect the seriousness of the offense; promote respect for the law; provide just

punishment; afford adequate deterrence to criminal conduct; and protect the public

from further crimes of the defendant. United States v. Jenkins, 854 F.3d 181, 187

(2017); United States v. Carr, 557 F.3d 93, 107 (2d Cir. 2009).

      In addition, a sentence is reviewed for compliance with 18 U.S.C.

§3553(a)’s “parsimony clause,” which requires a sentencing court to “impose a

sentence sufficient, but not greater than necessary to comply with the specific

purposes set forth” in 18 U.S.C. §3553(a)(2). Dorvee, 616 F.3d at 182-183; United

States v. Samas, 561 F.3d 108, 110 (2d Cir.2009). In assessing whether a sentence

complies with the § 3553(a)’s “parsimony clause,” this Court must:

            look to ‘the nature and circumstances of the offense and
            the history and characteristics of the defendant,’ 18
            U.S.C. § 3553(a)(1), as well as ‘the need to avoid
            unwarranted sentence disparities among defendants with
            similar records who have been found guilty of similar
            conduct,’ 18 U.S.C. § 3553(a)(6), and the Guidelines
            themselves, 18 U.S.C. § 3553(a)(5).
                                           65
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Dorvee, 616 F.3d at 182-183.

      A review of the Valerio’s de facto life sentence in light of these factors

demonstrates that it is substantively unreasonable.

       A. A De Facto Life Sentence is Not Warranted by Valerio’s
          Criminal History or the Goal of Specific Deterrence.

      The sentence imposed here is substantively unreasonable because the

District Court failed to offer a valid reason why a sentence lower than a de facto

life sentence was necessary to deter Valerio from future criminal activity involving

women and children. Indeed, none of the justifications proffered by the District

Court justify imprisoning Valerio for the rest of his life.

      Although Valerio’s exploitation of his niece and Kalichenko’s daughter and

his treatment of women is highly disturbing, a sentencing court confronted with

conduct “that generates an especially strong, visceral revulsion,” must exercise

“special care” to guard its objectivity. United States v. Brown, 843 F.3d 74, 86 (2d

Cir. 2016) (Sack, J. concurring). Similarly, given the emotional reaction child

pornography and assaults on women evoke, this Court “must be particularly

assiduous in assuring objectivity and propriety in assessing the sentence imposed.”

Brown, 843 F.3d at 86.

       The District Court all but ignored Dr. Bardey’s uncontroverted opinion that

Valerio is not a pedophile. There is no evidence that Valerio himself sought to

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engage in sexual relations with his niece or Kalichenko’s daughter. Significantly,

no victim impact statement was submitted for Valerio’s niece or Kalichenko’s

daughter. Moreover, reported decisions of this Court show that children have been

subjected to far worse treatment than the two children who were photographed or

video-taped in this case.

      Valerio’s Guidelines Criminal History Category of I, is hardly a basis for life

imprisonment. Nevertheless, the District Court asserted harsher punishment was

warranted because the crimes of conviction were committed not by some callow

youth but by a seemingly mature man. However, the fact that Valerio had, with

the exception of a single misdemeanor conviction, no other convictions was

actually a factor that militated against a de facto life sentence, a penalty that is

usually reserved for hardened offenders with a lengthy criminal history that

precludes all likelihood of rehabilitation.

      There is no evidence whatsoever to support the notion that Valerio is so

completely totally and absolutely incapable of rehabilitation or that the risk of

recidivism is so great that a de facto life sentence is warranted. To the contrary, Dr.

Bardey’s assessment indicates that with appropriate treatment the risk of

recidivism is not so high as to warrant incarceration for the rest of Valerio’s life.

      Moreover, specific deterrence is achieved not by lifetime incarceration but

“through treatment and supervision, extensive probationary conditions, and a host

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of collateral consequences which defendant will face for the rest of his life.” U.S.

v. D.M., 942 F. Supp.2d 327, 346 (E.D.N.Y. 2013). The District Court failed to

explain why the stringent conditions of supervised release currently imposed upon

sex offenders like Valerio would not be sufficient to protect women and children.

      In addition, the District Court’s conclusion that Valerio would inevitably

repeat his crimes is refuted by “widely available, definitive research demonstrating

that recidivism substantially decreases with age.”19 United States v. Jenkins, 854

F.3d 181, 192 (2d Cir. 2017), citing U.S. Sentencing Comm'n, Measuring

Recidivism: The Criminal History Computation of the Federal Sentencing

Guidelines (hereinafter “Measuring Recidivism), available at http://www.

ussc.gov/sites/default/files/pdf/research–and–publications/research–publications/

2004/200405_Recidivism_Criminal_History.pdf. That research shows that

individuals like Valerio “with a Criminal History Category I between ages 41 to 50

have a 6.9% recidivism rate, as opposed to a 29.5% recidivism rate for Category I

offenders under 21.”20 Jenkins, 854 F.3d at 192; Measuring Recidivism, Exhibit 9,


19
  Ironically, the District Court cited the fact that Valerio’s crimes occurred later in
his life as a factor that warranted imprisonment for the rest of his life. (A380-381).
20
  A more recent study by the Sentencing Commission confirms the findings in the
study cited by this Court in Jenkins. U.S. Sentencing Commission, The Effects of
Aging on Recidivism Among Federal Offenders (2017) at p. 3 (“For offenders in
Criminal History Category I, the rearrest rate ranged from 53.0 percent for
offenders younger than age 30 at the time of release to 11.3 percent for offenders
age 60 or older.”).
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Primary Definition Recidivism Rates for General Demographic Variables, by

Criminal History Category, Gender, Age at Sentencing, and Race.

      Although the Government seems to have persuaded the District Court that

sex offenders are an exception to the general rule that risk of recidivism decreases

as an offender ages, studies regarding recidivism rates for child pornography and

other sex offenders of every age dispel the myth they pose a higher rate of

recidivism than other offenders. They may have lower rates of recidivism than

those who commit different crimes. Deirdre M. Smith, Dangerous Diagnoses,

Risky Assumptions, And The Failed Experiment Of “Sexually Violent Predator”

Commitment, (hereinafter “Dangerous Diagnoses”), 67 Oklahoma Law Review

619, 671-672 (2015) (contrary to a common assumption, the recidivism rate among

sex offenders for committing a future sex offense is actually quite low). United

States v. RV, 157 F.Supp.3d 207, 240 (E.D.N.Y. 2016). And, to state the obvious,

the offender in Jenkins, whom this Court concluded posed a lesser risk of

recidivism because of his age, was sentenced for a child pornography offense.

      The paraphilias that Dr. Bardey identified are not, as the District Court

assumed and the Government argued, a predictor of future dangerousness. To the

contrary, “statistical analysis reveals the absence of a strong correlation between a

paraphilia and sexual violence.”      Dangerous Diagnoses, 67 Oklahoma Law

Review at 676 & n. 368.

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      Equally erroneous is the District Court’s conclusion that Valerio poses a

higher risk of recidivism because it had taken him a few years and multiple

sessions with Dr. Bardey to begin to realize that he had serious mental and

emotional disorders that he needed to address. This Court rejected a similar

argument in Jenkins where the sentencing judge asserted Jenkins’ refusal to accept

responsibility, his attempts to blame others, and his disrespect for the law indicated

that he posed a greater risk of recidivism. This Court noted that the Sentencing

Commission’s statistics on age and recidivism includes offenders “who accepted

responsibility as well as those who did not,” and consequently the Sentencing

Commission’s data demonstrated a lower recidivism risk than the sentencing judge

assumed. Jenkins, 854 F.3d at 192.

      Furthermore, given the severity of the abuse he had suffered and witnessed

and the amount of time that Valerio had suffered with little or no therapeutic

intervention, it is hardly surprising that Valerio only gradually began to realize the

root causes of is anti-social behavior and to form the resolve to address them.21

      Similarly, Valerio’s misdemeanor conviction and his purported failure to

take advantage of the sex offender treatment that he was required to undergo does

not “bear the weight assigned it under the totality of circumstances in the case.”


21
   Considering the longstanding nature of his problems, an instantaneous
realization, or sudden epiphany, would have raised doubts about its sincerity.

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Cavera, 550 F.3d at 191. The inadequacy of that course of treatment to address

Valerio’s psychological problems does not mean that additional treatment will be

unsuccessful.

        B.     A De Facto Life Sentence Ignores and Undermines the Goal of
               Rehabilitation.

       The District Court’s de facto sentence of life imprisonment does not comport

with 18 U.S.C. § 3553 (a)(2)(D)’s requirement that a sentencing court consider the

need to provide a defendant medical care or other correctional treatment “in the

most effective manner.”

       The District Court did recommend that Valerio receive mental health

treatment in prison. (A395). However, a sentence that ensures that Valerio will die

in prison is a powerful disincentive for him to overcome the psychological

problems that are the impetus for his anti-social behavior. “It is a sentence that

‘means denial of hope,’ that ‘good behavior and character improvement are

immaterial,’ that ‘whatever the future might hold in store for the mind and spirit ...,

[he] will remain in prison for the rest of his days.’” Brown, 843 F.3d at 92 (Pooler,

J., dissenting).

       C. A De Facto Life Sentence Undermines
         The Goal of General Deterrence.

       The District Court acknowledged that general deterrence, although not “the

driving force,” was nevertheless, a factor that in its decision. (A378). However, if

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“general deterrence” means preventing crime, a de facto life sentence thwarts,

albeit unintentionally, that goal.

      If child pornographers:

             are subjected to longer prison sentences than necessary
             for the purposes of public safety, public monies and
             resources expended upon incarceration are wasted. In
             addition, if sentences are disproportionately severe to the
             crime committed, notions of fairness and justice are
             compromised.

Melissa Hamilton, The Efficacy of Severe Child Pornography Sentencing:

Empirical Validity or Political Rhetoric?, 22 Stan. L. & Pol'y Rev. 545, 546

(2011); United States v. Beiermann, 599 F. Supp. 2d 1087, 1103-1104 (N.D. Iowa

2009) (noting the lack of any evidence that harsher sentences have reduced the

flow of child pornography on the Internet). See also, Carol S. Streiker, Lessons

from Two Failures: Sentencing for Cocaine and Child Pornography under the

Federal Sentencing Guidelines in the United States, 76 Law & Contemp. Probs. 27,

37 (2013). See also Brown, 843 F.3d at 92 (Pooler, J., dissenting) (quoting United

States v. Newsom, 402 F.3d 780, 785–786 (7th Cir. 2005)) (treating sex offenders

more harshly than other more culpable offenders frustrates the goal of marginal

deterrence, the basic premise of which is “that the harshest sentences should be

reserved for the most culpable behavior.”).




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       D. A De Facto Life Sentence is Grossly Disparate
          Treatment.

      18 U.S.C. §3553(a)(1), requires a sentencing court to “avoid unwarranted

sentence disparities among defendants.”      However, the de facto life sentence

Valerio received is grossly disparate to the typical sentence imposed on other child

pornography offenders.

      First, as a recent report from the United States Commission indicates, de

facto life sentences – which the report defines as a sentence of 470 months or

longer – are rare:

             As of January 2015, there were 1,983 offenders in the
             BOP system serving a sentence of incarceration of 470
             months or longer. They accounted for 1.1 percent of all
             federal sentenced offenders.

Schmitt, G. et al., Life Sentences in the Federal System, U.S. Sentencing Comm’n
(February 2015) (hereinafter “Life Sentences”), at p. 10 (footnote omitted).

Indeed, de facto life sentences are rare even in child pornography cases,

“accounting for just 2.9 percent of all child pornography sentences.”           Life

Sentences at p. 11.

      Second, the term of years imposed by the District Court –assuming Valerio

lives long enough to complete that sentence – still exceeds the typical sentence for

his crimes. According to the United States Sentencing Commission’s Interactive

Sourcebook, the mean sentence imposed where the primary Guideline is U.S.S.G.



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§ 2G2.1 is 311 months and the median sentence is 240 months. U.S. Sentencing

Comm’n, Interactive Sourcebook, available at https://isb.ussc.gov/Login.23

                                     * * *

      For the above-stated reasons, this Court should vacate the sentence imposed

upon Valerio, and for reasons stated in Point III, supra, at 64, he should be

resentenced by a different judge.

                                    POINT V

                    THE SENTENCES IMPOSED ON
                     COUNTS TWO, THREE, FIVE,
                   FIFTEEN, SIX, SEVEN, AND EIGHT
               VIOLATE THE DOUBLE JEOPARDY CLAUSE

      The sentences on Counts Two and Three violate the Double Jeopardy Clause

because they punish Valerio twice for the same offense.    The sentences imposed

on Count Five (receiving child pornography) and Count Fifteen (possession of

child pornography) violate the Double Jeopardy Clause because possession is a

lesser included offense of receiving child pornography, and the verdict on both

counts is based upon the same images, the images of S.K. that were on Valerio’s

computer. Finally, Counts Six, Seven, and Eight – which charge attempts to

sexually exploit S.K. – were simply steps on the way to the completed crime of

sexual exploitation charged in Counts Two and Three.           Consequently, the

23
  According to the Sentencing Commission’s website, this data is from the
Commission's fiscal year 2016 Datafile, USSCFY2016.

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sentences imposed upon Counts Six, Seven, and Eight, punish Valerio for the same

crimes for which he has been sentenced under Counts Two and Three.

      A. Count Two and Count Three are Essentially the Same Offense.

      The only difference between Count Two and Count Three is that Count Two

is premised upon 18 U.S.C. §2251(a) while Count Three is premised upon 18

U.S.C. §2251(c).     However, 18 U.S.C. §2251(a) and 18 U.S.C. §2251(c) are

essentially the same crime. United States v. McVicker, 979 F. Supp. 2d 1154, 1173

(D. Oregon). Section 2251(c) . . . largely proscribes the same conduct as § 2251(a),

except that it specifically targets conduct “outside of the United States, its

territories or possessions.”).

      Both §2251(a) and §2251(c) criminalize the exploitation of a child that

occurs outside the United States. Although §2251(a) does not explicitly state that

it applies to violations committed outside the United States, courts have held that it

does. United States v. Thomas, 893 F.2d 1066, 1069 (9th Cir. 1990); United States

Kapordelis, 569 F.3d 1291, 1306 (11th Cir. 2009).

      Section 2251(c), was added by Congress in 2003 to clarify the

extraterritorial scope of §2251(a) and thereby put an end to efforts by producers of

child pornography to avoid criminal liability by claiming that their child

pornography was produced outside of the United States. McVicker, 979 F. Supp. at

1173, citing H.R. Conf. Rep. No. 108-66, at 62-63 (2003).

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      Because Counts Two and Three punish Valerio twice for the same offense,

the judgment of conviction on one of those counts should be vacated and the

underlying count should be dismissed.

      B. Count Fifteen is a Lesser Included Offense of Count Five.

      The sentence imposed under Count Fifteen (possession of child

pornography) violates the Double Jeopardy Clause because it punishes Valerio

twice for conduct encompassed by Count Five (receipt of child pornography).

      A number of this Court’s sister circuits have held that Congress did not

intend to authorize prosecution for both receipt and possession based on the same

underlying pornographic material. See United States v. Benoit, 713 F.3d 1, 16

(10th Cir. 2013); United States v. Ehle, 640 F.3d 689, 698 (6th Cir. 2011); United

States v. Muhlenbruch, 634 F.3d 987, 1003 (8th Cir. 2011); United States v. Bobb,

577 F.3d 1366, 1373-74 (11th Cir. 2009); United States v. Miller, 527 F.3d 54, 72

(3d Cir. 2008); United States v. Davenport, 519 F.3d 940, 947 (9th Cir. 2008).

While this Court has not yet squarely held that possession of child pornography is

a lesser included offense of receiving child pornography, it has found the reasoning

of these circuits persuasive. United States v. Polouizzi, 564 F.3d 142, 159 (2d Cir.

2009); United States v. Irving, 554 F.3d 64 (2d Cir. 2009).




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      Count Fifteen alleged that Valerio possessed child pornography on January

28, 2014.     In its closing argument, the Government argued that the jury could

convict Valerio of Count Fifteen on the basis of the images found on his computer:

              And how do you know that he possessed it? Again, he
              asked for it; he got it; paid for it. It was all on the
              computer, and it was on the defendant’s one on January
              28, 2014, the day of the first search warrant. That's when
              the computer was taken. That’s what the indictment says
              as the date that the defendant possessed the child
              pornography involving both of the young girls. (T986).

      The images on Valerio’s computer were the same images that provided the

basis for his conviction on Count Five (receipt of child pornography), the images

of S.K. he received from Kalichenko. On the other hand, the images of S.I. were

found on an SD card, not the computer as the Government erroneously asserted in

its closing argument. Consequently, the jury could not have convicted Valerio of

Count Fifteen on the basis of S.I. images that were not on the computer. And, in

an abundance of caution, we note that the verdict on Count Fifteen cannot be

explained away on the basis of a theory never submitted to the jury – i.e. that the

jury could convict on the basis of on images of S.I. on an SD card. United States v.

Polouizzi, 564 F.3d 155, n. 5, citing Chiarella v. United States, 445 U.S. 222, 236-

37, 100 S. Ct. 1108, 63 L. Ed. 2d 348 (1980) (noting that “we cannot affirm a

criminal conviction on the basis of a theory not presented to the jury”).




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      Furthermore, in the absence of a clear and unambiguous indication to the

contrary, possession is a continuing crime, and multiple violations of the statute

cannot be concocted by charging multiple counts covering different time periods.

Valerio cannot be punished twice for pornography he received and therefore

possessed between April 1, 2012 and November 1, 2012, simply because he still

possessed that material on January 28, 2014.

      C. The Attempts Charged in Counts Six, Seven and Eight
         Merged into the Completed Crime Charged in Counts Two
         And Three.

      “[A] defendant may be charged with committing a completed offense and

with attempting to commit the same offense, and those charges may be submitted

to the trier of fact if evidence supports both offenses. It is also clear, however, that

a defendant may not be convicted of both the attempt and the completed crime,

because all the elements of the attempt are included in the completed offense and a

dual conviction would amount to double jeopardy.” United States v. Rust, 650 F.2d

927, 928 (8th Cir. 1981). The District Court correctly concluded that Counts Nine

through Thirteen – which charged attempts to exploit S.K. – were included in

Count Two – which charges sexual exploitation of a child as a completed offense.24

Consequently, the District Court, citing Rust, ultimately dismissed those counts.



24
  In an abundance of caution, we note that the attempts charged in Counts Nine
through Thirteen are also included in Count Three.
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       However, Counts Six, Seven, and Eight – also charged attempts to sexually

exploit S.K. that occurred on January 23 and 24, 2012, and March 28, 2012.

Although those attempts occurred before the time frame alleged in Count Two

(April 1, 2012 and November 1, 2012), Counts Six, Seven, and Eight were

nevertheless steps along the way to the completion of the completed crime alleged

in Count Two, sexual exploitation of S.K. Therefore, Counts Six through Eight

should also have been dismissed.

       D. Plain Error

       Although trial counsel preserved the argument that the counts charging an

attempt to exploit S.K. merged into Count Two, he did not, argue that Count

Fifteen is a lesser included offense of Count Five. Nor did trial counsel argue that

Counts Two and Three charge the same crime. However, this Court has “often

found multiple convictions for a single statutory violation to constitute plain error

although [it has] not previously addressed specifically whether the conduct at issue

was intended by Congress to be a single statutory violation.” Poliuzzi, 564 at 156.

(matter in brackets supplied). See also United States v. Handakas, 286 F.3d 92, 99

(2d Cir. 2002) (“Because we find no precedential or statutory support for the

multiple structuring charges, conviction on two separate counts constituted an

‘error’ that is ‘plain.’”).

                                      * *    *

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      For the above stated reasons, and the reasons stated at Point III, supra, at

64, the Court should remand this matter to the District Court and a different judge

with instructions to vacate the sentences imposed upon Counts Three, Six, Seven,

Eight, and Fifteen and to dismiss those counts.

                                 CONCLUSION

          FOR THE REASONS STATED IN POINTS I AND II,
     THIS COURT SHOULD REVERSE VALERIO’S CONVICTION
      AND SUPPRESS THE STATEMENTS ELICITED FROM HIM
     DURING THE SEARCH OF HIS HOME. FOR THE REASONS
   STATED IN POINTS III AND IV, THIS COURT SHOULD VACATE
    THE DE FACTO LIFE SENTENCE IMPOSED ON VALERIO AND
       REMAND THIS MATTER TO A DIFFERENT JUDGE FOR
   RESENTENCING. FOR THE REASONS STATED IN POINT FIVE,
        THIS COURT SHOULD REMAND THIS MATTER TO
   A DIFFERENT JUDGE WITH INSTRUCTIONS TO VACATE THE
        SENTENCES IMPOSED UPON COUNTS THREE, SIX,
  SEVEN, EIGHT, AND FIFTEEN AND TO DISMISS THOSE COUNTS.


                                             Respectfully Submitted,
      Date: March 5, 2018
                                             /s/ Louis M. Freeman
                                             Louis M. Freeman
                                             Freeman, Nooter & Ginsberg
                                             75 Maiden Lane, Suite 503
                                             New York, NY 10038
                                             (212) 608-0808

                                             Attorneys for Appellant-Defendant




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                     CERTIFICATE OF COMPLIANCE

      Excluding the parts of the document exempted by Fed. R. App. P. 32(f): this

document contains 18, 279 words. On Friday, March 2, 2018, undersigned counsel

made a motion to the Second Circuit Court of Appeals requesting permission to file

an oversized brief. That motion is pending approval.

      This document complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because: this

document has been prepared in a proportionally spaced typeface using Microsoft

Word in 14-point font Times New Roman.



Dated: New York, New York
       March 5, 2018



                                                        /s/ Louis M. Freeman
                                                        Louis M. Freeman
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                   Special Appendix
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        F. #2014R00151
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                                                                            LONG ISLAND OFFICE
        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK
         ------------------------------X
         ------------------------------x
         UNITED STATES OF AMERICA,                                   FINAL ORDER OF FORFEITURE

                   against--
                 - against                                           14-CR-0094 (~:-2) (JFB)

         JOSEPH VALERIO,

                                    Defendant.

         -----------------------------X
         -----------------------------x
                             WHEREAS, on or about November 13,2014,
                                                           13, 2014, the defendant, Joseph Valerio

        (the "Defendant"), was convicted, after a jury trial, of all counts of the Superseding

        Indictment;

                             WHEREAS, on November 20,2014,
                                                  20, 2014, this Court entered a Preliminary Order of

        Forfeiture (the "Preliminary Order") pursuant to Rule 32.2 of the Federal Rules of Criminal

        Procedure, finding that all right, title and interest in (i) one V Premier desktop computer, serial

        number P80003011134;
               P800030 11134; (ii) one 4 gigabyte SD Card, no serial number; and (iii) the real

        property and premises located at 3 High Gate Drive, Smithtown, New York 11787, together

        with its respective buildings, appurtenances, improvements, fixtures, attachments, and

        easements, designated as District 473400,
                                          4 73400, Section 50, Block 5 and Lot 23 on the Suffolk

        County Tax Map (the "High Gate Drive Premises"), are forfeitable to the United States,

        pursuant to 18 U.S.C. § 2253(a), as property.that constitutes: (a) visual depictions described in

        18 U.S.C. §§ 2251, 2251A, 2252, 2252A, 2252B or 2260, or any book, magazine, periodical,

        film, videotape, or other matter which contains any such visual depiction, which was produced,

                                                                                                              '



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      Case 2:14-cr-00094-JFB Document 152 Filed 07/31/17 Page 2 of 3 PageID #: 2057




     transported, mailed, shipped or received in violation of such sections; (b) property, real or

     personal, constituting or traceable to gross profits or other proceeds obtained from such

     offenses; ((c)
                 c) property, real or personal, used or intended to be used to commit or to promote

     the commission of said offense or property traceable to such property; and/or
                                                                            andlor ((d)
                                                                                     d) as substitute

     assets pursuant to 21 U.S.C. § 853(p);

                     WHEREAS, legal notice of the forfeiture was published in this district on the

     official government website, www.forfeiture.gov, for thirty (30) consecutive days beginning

     December 23,2014
              23, 2014 through and including January 21,2015
                                                     21, 2015 (Docket no. 105); and

                     WHEREAS, on or about April 24, 2015, after entry of the Preliminary Order,

     the Defendant entered into a Stipulation and Amended Preliminary Order of Forfeiture (the

     "Stipulation") only as to the High Gate Drive Premises, wherein the defendant would pay the

     government the sum of seventy-five thousand dollars and no cents ($75,000.00) (the "Forfeited

     Funds") as a substitute res in lieu of the High Gate Drive Premises; and

                     WHEREAS, no third party has filed with the Court any petition or claim in

     connection with the Seized Assets and the Forfeited Funds and the time to do so under 21

     U.S.C. § 853(n)(2) has expired.

                    NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND

     DECREED, that pursuant to 18 U.S.C. § 2253(a) and 21 U.S.C. § 853(p), the Preliminary

     Order and the Stipulated and Amended Preliminary Order of Forfeiture, all right, title, and

     interest in the Seized Assets and the Forfeited Funds are hereby condemned, forfeited, and

     vested in the United States of America.




         United States v. Joseph Valerio 14-CR-0094 CS-2)
                                                     (S-2) CJFB)
                                                           (JFB)
         Final Order of Forfeiture
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_________:2__            ___ ,, __
                        --·-···    ~ ____________._. _ _ .__ ~------
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                                                                       ---~-.-.--   ------.-            __._J.____ .__ _
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                                       IT IS FURTHER ORDERED that the United States Marshals Service and/or the

                  Federal Bureau of Investigation, or their duly authorized agents and/or contractors be, and

                  hereby are, directed to dispose of the Seized Assets and the Forfeited Funds in accordance with

                 . all applicable laws and regulations.

                                       IT IS FURTHER ORDERED that the United States District Court for the

                  Eastern District of New York shall retain jurisdiction over this case for the purpose of

                  enforcing the Preliminary Order and this Final Order of Forfeiture and any supplemental orders

                  of forfeiture as may be necessary.

                                       IT IS FURTHER ORDERED that the Clerk of Court shall enter final judgment

                  of forfeiture to the United States in accordance with the terms of this Final Order and the

                  Preliminary Order of Forfeiture.

                                       IT IS FURTHER ORDERED that the Clerk of Court shall send by inter-office

                  mail five (5) certified copies of this executed Final Order of Forfeiture to Asset Forfeiture

                  Paralegal Brian Gappa, United States Attorney's Office, Eastern District of New York, 610

                  Federal Plaza, Central Islip, New York 11722.

                  Dated: Central Islip, New York
                           ~_,2017

                          IJv.~
                          t)v-~ JI
                                ~I
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                                                                                  SOO~ERED~
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                                                                                         BL OSEPH F.      CO
                                                                                  UNI D STATES DISTRICT JUDGE
                                                                                  EASTERN DISTRICT OF NEW YORK




                  United States v. Joseph Valerio 14-CR-0094 (8-2)
                                                             CS-2) (JFB)
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                  Final Order of Forfeiture
_________. ____ .__ 33______
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                             ..______.. _ --_____
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet I



                                         UNITED STATES DISTRICT'COURT
                                                       DISTRICT.COURT
                                         Eastern District of New
                                                             Ne'\\'
                                                                 i
                                                                    York
                                                        )
                UNITED STATES OF AMERICA                )      J)UDGMENT
                                                               JjUDGMENT IN A CRIMINAL CASE
                             v.                         )
                                                        )
                       Joseph Valerio                          Case Number: CR 14-0094
                                                     F\l.ED               )
                                                 \N CLeCRTK~o'rfJ{to.N.Y).)
                                           U.S. OISTR\
                                                                                  USM Number: 83257
                                                                                              83257-053
                                                                                                    -053

                                                                                   Anthony LaPinta, 200 Vanderbilt Pkwy, Hauppauge
                                                     JUN o~ 1011 ~
THE DEFENDANT:                             **                                     Defendant's Attorney


o pleaded guilty to count(s)
D                                            LONG \SLANC QFr\CE
o pleaded nolo contendere to count(s)
D
   which was accepted by the court.
Iilf was found guilty on count(s)
1iZ1                                     1, 2,3,4,5,6,7,8,14,
                                            2,3,4,5,6,7,8, 14, and15
     after
     after a plea of not guilty.
                                       - --------------------------------
                                       ---------------------------------~




The defendant is adjudicated guilty of these offenses:

      & Section
Title &                          Nature of Offense
                                           Offense,                                                        Offense Ended
 18 U.S.C. § 2251(e}
             2251(e)                Conspiracy to commit sexual exploitation of a child.                     11/1/2012                   1
 18 U.S.C. § 2251(a),
             2251 (a),              Sexual Exploitation of a child.                                          11/1/2012                   2
 18 U.S.C. § 2251(e)
             2251 (e)

       The defendant is sentenced as provided in pages 2 through         __7___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
D
Iilf
liZ1 Count(s)     9-13 &
                       & Underlying Indictment           0 is
                                                         D        IlJ
                                                                  ~areare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of an)' change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant
    defenoant must notify the court and United States attorney of material clianges
                                                                                 changes in econoIDlc
                                                                                            econOmIC circumstances.

                                                                         6/6/2017
                                                                         Date of Imposition of Judgment

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                                                                         Joseph;
                                                                         Joseph: F. Bianco, U.S.D.J.
                                                                                   ride
                                                                        Name and rtle of Judge


                                                                         7/31/2Q17
                                                                         7/31/2017
                                                                         Date
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                       Sheet IA
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DEFENDANT: Joseph Valerio
CASE NUMBER: CR 14-0094

                                          ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                           Offense Ended         Count
18 U.S.C. § 2251(c),

18 U.S.C. § 2251(e)
            2251 (e)             Sexual Exploitation of a child.             11/1/2012             3

18 U.S.C. § 2252(a)(1),

18 u.s.c.
   U.S.C. § 2252(b)(1)           Transportation of child pornography.        11/1/2012             4

18 U.S.C. § 2252(a)(2},
            2252(a)(2),

   u.s.c. §2252(b){1)
18 U.S.C. §2252(b)(1)            Receipt of child pornography.               11/1/2012             5

18 U.S.C. § 2251(e)
            2251 (e)             Attempted sexual exploitation of a child.   1/23/2012             6
18 U.S.C. § 2251(e)
            2251 (e)             Attempted sexual exploitation of a child.   1/24/2012             7

18 U.S.C. § 2251(e)
            2251{e)              Attempted sexual exploitation of a child.   3/28/2012             8

18 U.S.C. §§ 2251(a)
             2251 (a)

and (e)                          Sexual exploitation of a child.             1/19/2011             14

18 U.S.C. §§ 2252(a)(4)
             2252{a)(4)

(B)
(8) and (b)(2)                   Possession of child pornography.            1/28/2014             15
                       Case 17-2371, Document 37, 03/05/2018, 2249745, Page99 of 111
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              Case 2:14-cr-00094-JFB Document 150 Filed 06/06/17 Page 3 of 7 PageID #: 2045
AO 2458 (Rev. 11/16)
              11116) Judgment in Criminal Case
                     Sheet 2 - Imprisonment
                                                                                                    Judgment-
                                                                                                    Judgment          3_
                                                                                                                      3
                                                                                                             - Page _ _  of   7
DEFENDANT: Joseph Valerio
CASE NUMBER: CR 14-0094

                                                           IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
tenn of:
term
  720 months, consisting of the following: 30 years on Counts 1,2,3,6,7,8
                                                              1,2,3,6,7,8 and 14, to run concurrently to ea.ch
                                                                                                         ea"ch other; 20 years on
  Counts 4 and 5, to run concurrently to each other and con~ecutively to the other remaining counts; 10 years, to run
  consecutively to all other counts.


     ~ The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be designated as close as possible to Long Island.
  That the defendant receive sex offender treatment in jail.


    liZl
    bZ1    The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
           D at                                  D a.m.      D p.m.       on
           D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                     to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                        STATES
                                                                                                 UNITED STATES MARSHAL


                                                                         By ~------------------~
                                                                            ______~~~-~~~==~==~~----
                                                                                  DEPUTY UNITED STATES MARSHAL
                     Case 17-2371, Document 37, 03/05/2018, 2249745, Page100 of 111
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             Case 2:14-cr-00094-JFB Document 150 Filed 06/06/17 Page 4 of 7 PageID #: 2046
   2458 (Rev. 11116)
AO 24SB       11/16) Judgment in a Criminal Case
                     Sheet 3 - SupelVised
                               Supervised Release
                                                                                                      Judgment-Page ~
                                                                                                                    __A__ of            7
DEFENDANT: Joseph Valerio
CASE NUMBER: CR 14-0094
                                                     SUPERVISED RELEASE       I




Upon release from imprisonment, you will be on supervised release for a term of:       Lifetime



                                                    MANDATORY CONDITIONS
1.
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              o
             D The above drug testing condition is suspended, based on the court's detennination
                                                                                      determination that you
                pose a low risk of future substance abuse. (check if applicable)
4.    D
      0 You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.    D
      0 You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
                                                             qualifYing offense. (check ifapplicable)
         reside, work, are a student, or were convicted of a qualifying
6.    D
      0 You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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                                                                  SPA-8
            Case 2:14-cr-00094-JFB Document 150 Filed 06/06/17 Page 5 of 7 PageID #: 2047
AO 2458 (Rev. 11116)    Judgment in a Criminal Case
                        Sheet 3A - Supervised Release
                                                                                               Judgment-Page   __5__
                                                                                                               _--,-5 __      of         17
DEFENDANT: Joseph Valerio ·
CASE NUMBER: CR 14-0094

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. Ifnotifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
             of becoming aware of
      hours ofbecoming            ofaa change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the   probation officer may
                                                                                                                the_probation
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



u.S. Probation Office Use Only
U.S.
A U.S. probation officer has instructed me qn
                                           on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date _ _ _ _ _ _ _ _ _ _--+
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                                                            SPA-9
           Case
AO 245B(Rev.
   24SB(Rcv. 11/16)
             11116)   2:14-cr-00094-JFB
                       Judgment in a Criminal Case
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                       Sheet 3D - Supervised Release
                                                                                              Judgment-Page ~ of              7
DEFENDANT: Joseph Valerio
CASE NUMBER: CR 14-0094

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall comply with the Forfeiture Provision.

 2. The defendant shall make full financial disclosure to the probation officer.

 3. the defendant shall comply with the sex offender registration requirements mandated by law.

  4. the defendant shall participate in a mental health treatment program, which may include participation in a treatment
 program for sexual disorders, as approved by the Probation Department. The defendant shall contribute to the cost of such
 services rendered and/or any psychotropic medications prescribed to the degree he is reasonably able, and shall
 cooperate in securing any applicable third-party payment. The defendant shall disclose all financial information and
 documents to the Probation Department to assess his ability to ·pay. As part of the treatment program for sexual disorders,
 the defendant shall participate in a polygraph examination(s) to obtain information necessary for risk management and
 correctional treatment.

 5. The defendant shall refrain from contacting the victims of the offense.

 6. The defendant will not associate with any child(ren) under the age of 18, unless a responsible adult is present and he
 has prior approval from the Probation Department.

 7. Unless otherwise indicated in the treatment plan provided by the sex offender treatment program, the defendant is
 prohibited from viewing, owning or possessing any obscene, pornographic, or sexually stimulating visual or auditory
 material including telephone, electronic media, computer programs, or computer services that have a reasonably direct
 relationship to the offender's deviant behavior pattern.

8. If the defendant cohabits with an individual who has minor children,
                                                               children. the defendant will inform that other party of his prior
criminal history concerning his sex offense. Moreover, he will notify the party of his prohibition of associating with any child
(ren) under the age of 18, unless a responsible adult is present.

9. The defendant is not to use a computer, Internet capable device,
                                                                device. or similar electronic device to access pornography of
any kind. The term IIpornography"
                      "pornography" shall include images or video of adults or minors engaged in usexually
                                                                                                     "sexually explicit conduct"
as that term is defined in Title 18, United States Code, Section 2256(2). The defendant shall not communicate via his
computer with any individual or group who promotes the sexual abuse of children. The defendant shall also cooperate with
the U.S. Probation Department's Computer and Internet Monitoring program. Cooperation shall include,  include. but not be limited
to, identifying computer systems, Internet capable devices, and/or similar electronic devices the defendant has access to,
and allowing the installation of monitoring software/hardware on said devices,
                                                                          devices. at the defendant's expense. The defendant
shall inform all parties that access a monitored computer, or similar electronic device, that the device is subject to search
and monitoring. The defendant may be limited to possessing only one personal Internet capable device, to facilitate our
department's ability to effectively monitor his/her Internet related activities. The defendant shall also permit random
examinations of said computer systems, Internet capable devices, similar electronic devices, and related computer media,
such as CDs, under his control.

10. The defendant shall notify his employer of his computer related offense, if his job requires computer access with
Internet capability.

11. The defendant shall not possess a firearm, ammunition, or destructive device.

12. The defendant shall submit his person, property, house.    reside~ce, vehicle, papers, computers (as defined in 18
                                                       house, resider'lce,
U.S.C. § 1030(e)(1»,
         1030(e)(1)), other electronic communications or data storage devices or media,
                                                                                    media. or office to a search conducted
by a United States probation officer. Failure to submit to a search may be grounds for revocation of release. The defendant
shall warn any other occupants that the premises may be subject tojsearches pursuant to this condition. An officer may
conduct a search pursuant to this condition only when reasonable suspicion exists that the defendant has violated a
condition of his supervision and that the areas to be searched contain evidence of this violation. Any search must be
conducted at a reasonable time and in a reasonable manner.
                      Case 17-2371, Document 37, 03/05/2018, 2249745, Page103 of 111
                                                                     SPA-10
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             11116) 2:14-cr-00094-JFB
             11/16) Judgment in a Criminal Case      Document      150 Filed 06/06/17 Page 7 of 7 PageID #: 2049
                    Sheet 6
                          6 - - Schedule of Payments

                                                                                                            Judgment - Page   _7__
                                                                                                                              _7__      of        7
DEFENDANT: Joseph Valerio
CASE NUMBER: CR 14-0094

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ~
      fl]    Lump sum payment of
                              of$$        1,000.00             due immediately, balance due

             D
             0     not later than                                  , or
             D
             0     in accordance with   D c,
                                        0 C,       0D 0,
                                                      D,      0D    E, or     oD   Fbelow; or

B     0D     Payment to begin immediately (may be combined with             DC,         OD,or
                                                                                        DD, or       oD F below); or
C     0D     Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                        over a period of
            _ _ _ _ _ (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

D     0
      D      Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                          over a period of
            _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     0D     Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     0D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
the period of imprisonment. All criminal mone~ penalties, except those payments made through the Federal Bureau of Prisons' Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



o
D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




oD   The defendant shall pay the cost of prosecution.

oD                                               cost(s):
     The defendant shall pay the following court cost(s):

~    The defendant shall forfeit the defendant's interest in the following property to the United States:
      See attached order.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
                                                                                                             interest? (4) fine principal, (5) fine
interest, (6) commuruty restitution, (7) JVTA assessment, (8) penaltIes,
                                                              penalties, and (9) costs, mcludmg cost of prosecution and court costs.
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     Neutral
As of: February 22, 2018 7:46 PM Z


                                            United States v. Valerio
                         United States District Court for the Eastern District of New York
                                     June 1, 2017, Decided; June 1, 2017, Filed
                                                No 14-CR-94 (JFB)


Reporter
2017 U.S. Dist. LEXIS 84118 *
UNITED STATES OF AMERICA, VERSUS JOSEPH VALERIO, Defendant.

Prior History: United States v. Valerio, 9 F. Supp. 3d 283, 2014 U.S. Dist. LEXIS 45790 (E.D.N.Y., Apr.
1, 2014)

Core Terms
daughter, pair, sentencing, child pornography, sexual, sexual assault, violent, interview, witnesses,
credible, picked, assaults, arrived, exploit, physically, uncharged, happened, traveled, airport, driving, e-
mail, pulled

Counsel: [*1] For The government: Allen Lee Bode and Ameet B. Kabrawala, Assistant United States
Attorneys, United States Attorney's Office for the Eastern District of New York, Brooklyn, New York.
For Defendant: Anthony M. LaPinta of Reynolds, Caronia, Gianelli, Hagney, LaPinta & Hargraves,
Hauppauge, New York.

Judges: JOSEPH F. BIANCO, United States District Judge.

Opinion by: JOSEPH F. BIANCO

Opinion


MEMORANDUM AND ORDER

JOSEPH F. BIANCO, District Judge:

On November 13, 2014, a jury convicted defendant Joseph Valerio ("defendant" or "Valerio") of one
count of conspiracy to sexually exploit a child, in violation of 18 U.S.C. § 2251(e); three counts of
sexually exploiting a child, in violation of -
                                             18 U.S.C.
                                                   -   §§ -
                                                          2251(a),
                                                               -   (c), and -(e); seven counts of attempted
sexual exploitation of a child, in violation of 18 U.S.C. § 2251(e); one count of transporting child
pornography, in violation of 18 U.S.C. §§ 2252(a)(1) and (b)(1); one count of receiving child
pornography, in violation of 18 U.S.C. §§ 2252(a)(2) and (b)(1); and one count of possessing child
               Case 17-2371, Document 37, 03/05/2018, 2249745, Page105 of 111
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                                                         United States v. Valerio

pornography, in violation of 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2). (ECF No. 95.) Sentencing has been
scheduled for June 6, 2017.

In March 2016, the Probation Department submitted an Addendum to the Presentence Report, advising
the Court, inter alia, that the government had provided information about (1) a women (referred to herein
by her [*2] initials "A.D.") who had advised the government that, during a romantic relationship that she
had with the defendant, the defendant had physically and sexually assaulted her; and (2) another women
who had been hired by the defendant as an au pair through an agency, only to learn when she arrived to
the United States from England that there was no child in his home for whom to provide care. In addition,
during the course of the proceedings involving co-conspirator Olena Kalichenko, the Court became aware
that Ms. Kalichenko was asserting that the defendant sexually assaulted her during their relationship,
which also involved Ms. Kalichenko producing child pornography of her daughter in the Ukraine at the
defendant's request. See, e.g., United States v. Olena Kalichenko, March 17, 2011 Hearing, ECF No. 87, at
9.1

Although this alleged additional conduct by the defendant did not involve child pornography, the Court
determined that this alleged uncharged violent conduct, which the defendant disputes, may constitute
"relevant conduct" under Section 1B1.3 of the United States Sentencing Guidelines and/or would be facts
that the Court in its discretion could consider as part of the statutory sentencing factors, including the
defendant's history [*3] and characteristics and the need to protect the public from further crimes of the
defendant, pursuant to 18 U.S.C. § 3553(a) ("Section 3553(a)"). Thus, the Court held a Fatico hearing on
July 25 and September 26, 2016 (ECF Nos. 126, 129) regarding the disputed conduct. See United States v.
Fatico, 579 F.2d 707 (2d Cir. 1978), cert. denied, 444 U.S. 1073, 100 S. Ct. 1018, 62 L. Ed. 2d 755
(1979).

As set forth in more detail below, having conducted that evidentiary hearing, including an evaluation of
the demeanor and credibility of the witnesses, the Court finds that the government has proven, by a
preponderance of the evidence, that (1) the defendant physically and sexually assaulted Olena Kalichenko
during the course of his relationship with her; (2) the defendant physically and sexually assaulted A.D.
during his relationship with her; and (3) the defendant deceived another woman into believing that she
was coming to his house from England to be an au pair, even though there was no child in his house.
Although the Court has considered the various arguments in the defendant's written submission as to why
the witnesses' testimony was not credible, the Court finds those arguments unpersuasive based upon the
Court's own evaluation of the witnesses' credibility at the hearing. In addition, to the extent that there is
any suggestion [*4] that the alleged violent acts recounted by the witnesses were consensual (based, for
example, on a "contract" that Ms. Kalichenko signed), the Court similarly finds those suggestions
unpersuasive in light of the credible testimony of the victims.

Accordingly, at sentencing, the Court intends to consider the defendant's physical and sexual assaults of
Ms. Kalichenko and A.D. in connection with the Section 3553(a) factors—namely, the defendant's history
of extremely dangerous and violent behavior towards other individuals, and the need to protect the public




1 In
    this Memorandum and Order, in an effort to protect the privacy of an alleged victim of a sexual assault, the Court refers to the witness
"A.D." by her initials. However, given the unique status of Ms. Kalichenko as a charged co-conspirator with respect to the production of child
pornography, any effort to protect her identity is futile and, thus, the Court has not redacted her name.
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from further crimes by the defendant.2 Finally, although the defendant's conduct towards the au pair was
not violent and the Court does not consider it in that regard, the Court finds that the credible testimony
regarding the circumstances surrounding the defendant's interactions with the au pair serves to corroborate
the testimony of Ms. Kalichenko and A.D. regarding the deceptive and manipulative conduct by the
defendant during their respective relationships with him.3
I. APPLICABLE LAW

Pursuant to 18 U.S.C. § 3661, Congress has made clear that "[n]o limitation shall be placed on the
information concerning the background, character, and conduct of a person convicted [*5] of an offense
which a court of the United States may receive and consider for the purpose of imposing an appropriate
sentence." Thus, the Supreme Court has emphasized that, "[a]s a general proposition, a sentencing judge
may appropriately conduct an inquiry broad in scope, largely unlimited either as to the kind of
information he may consider, or the source from which in may come." Witte v. United States, 515 U.S.
389, 398, 115 S. Ct. 2199, 132 L. Ed. 2d 351 (1995) (citation omitted). The Second Circuit has further
explained that "in the post-Booker advisory Guidelines regime, the Guidelines limitations on the use of
factors to permit departures are no more binding on sentencing judges than the calculated Guidelines
range themselves." United States v. Thavaraja, 740 F.3d 253, 262 (2d Cir. 2014). Consideration of a
broad range of conduct may include uncharged or even acquitted conduct, United States v. Reese, 33 F.3d
166, 174 (2d Cir. 1994), as long as the government proves the conduct by a preponderance of the
evidence, United States v. Vaughn, 430 F.3d 518, 526 (2d Cir. 2005). See also United States v. Ulbricht,
858 F.3d 71, 2017 U.S. App. LEXIS 9517, 2017 WL 2346566, at *38 (2d Cir. May 31, 2017) ("A district
court may consider as part of its sentencing determination uncharged conduct proven by a preponderance
of the evidence as long as

In light of this discretion, numerous courts have considered uncharged violent conduct by a defendant at
sentencing in determining, inter alia, his "history and characteristics" and/or the degree to which there
is [*6] a need "to protect the public from further crimes of the defendant" pursuant to 18 U.S.C. §§
3553(a)(1) and (a)(2)(C). See, e.g., United States v. Robinson, 520 F. App'x 20, 22-23 (2d Cir. 2013)
(affirming, in a robbery case, the court's consideration at sentencing of the defendant's involvement in
shooting death of a victim in an unrelated case); United States v. Wilbers, 442 F. App'x 491, 495 (11th
Cir. 2011) (holding that district court did not abuse its discretion in considering the defendant's prior past
domestic violence arrests in sentencing him for possession of ammunition by a convicted felon); United
States v. Jordan, 435 F.3d 693, 697 (7th Cir. 2006) (affirming sentence where district court considered,
among other things, the defendant's prior sexual abuse of his own daughter and the creation and



2 The
      Court notes that the defendant's conduct towards Ms. Kalichenko is arguably "relevant conduct" because it could be viewed as being in
preparation for, and inextricably intertwined with, his subsequent conspiracy with Ms. Kalichenko to sexually exploit her child in the Ukraine
and to produce child pornography with her child at his direction. U.S.S.G. §§ 1B1.3(a)(1)(A), (3); United States v. Wernick, 691 F.3d 108,
115 (2d Cir. 2012); see also United States v. Ahders, 622 F.3d 115, 120 (2d Cir. 2010) (affirming finding that uncharged molestation of two
minors was relevant to conviction for child pornography production because it " it occurred during the period that [the defendant] was
producing pornographic images"). However, the Court concludes that the defendant's violent conduct towards Ms. Kalichenko, along with his
violent conduct towards A.D., is more appropriately treated under the particular circumstances of this case as part of his "history and
characteristics" under Section 3553(a)(1) and the need to protect the public from further crimes by the defendant under Section
3553(a)(2)(C).

3 In
    any event, even if the Court did not consider the interactions with the au pair at all, it would reach the that conduct does not increase
either the statutory minimum or maximum available punishment."). same conclusions with respect to Ms. Kalichenko and A.D.
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possession of child pornography for which he was not charged); United States v. Amirault, 224 F.3d 9,
13-15 (1st Cir. 2000) (where a defendant was convicted of possessing child pornography, sentencing court
could consider his sexual assaults against his two minor sisters-in-law twenty years earlier).
II. FINDINGS OF FACT

At the July 25, 2016 Fatico hearing, the government presented the testimony of Lucy Down ("Down"), an
au pair who was hired to work for defendant; Jolene Leonardo ("Leonardo"), who worked for the au pair
agency; and co-conspirator Olena Kalichenko ("Kalichenko"). In addition, at the September 26, 2016
hearing, the government presented the [*7] testimony of A.D., the mother of Valerio's daughter.
Defendant did not call any witnesses during the Fatico hearing. Having conducted the evidentiary hearing,
including evaluating the credibility of the witnesses, the Court finds the testimony of the government's
witnesses to be fully credible, and that the government has proven the facts summarized below by a
preponderance of the evidence.
A. Down

At the time of her testimony, Down was 22-years old and living in the United Kingdom. (United States v.
Valerio, 14-CR-94 (JFB), Tr. of July 25, 2016 Hr'g at 8.) In 2012, after finishing college at the age of 18,
Down decided to travel to the United States and applied to an au pair company called GAP 360, which
was known as InterExchange in the United States. (Id. at 9-10.) Valerio contacted Down through the
company's database to interview her for an au pair position. (Id. at 10-11.) On or about September 17,
2012, Valerio interviewed Down remotely via Skype. (Id. at 13-14.) During that interview, Valerio told
Down that he had a daughter named Sylvia who was 8-years old, and that Down would be responsible for
caring for her. (Id. at 14-15.)

On or about October 22, 2012, Down traveled to the United States to begin work for Valerio as an au pair.
(Id. at 17.) After an orientation and training program that lasted approximately five days, Valerio picked
Down up in his car. (Id. at 17-18.) During the drive to Valerio's home, he informed Down that Sylvia was
not actually his child, and when Down asked him why he needed an au pair, he said that he would explain
everything later. (Id. at 17-18.) He also told her that he was [*8] planning to take her to a Halloween
party and mentioned that he would like her to wear pantyhose with nothing else as a costume. (Id. at 20.)

Following a meal, Valerio took Down to his home on Long Island. (Id. at 19.) After Valerio showed
Down her bedroom, he asked if she would like a drink. (Id. at 20-21.) While Down was sitting in the
media room with a drink, Valerio entered wearing boxers and a tank top. (Id. at 21.) Valerio sat next to
Down for a few minutes and touched her hand, and Down then went upstairs to her room to go to sleep.
(Id. at 21-22, 57.) She awoke around 4 a.m. and contacted her father via e-mail. (Id. at 22-23.) They then
spoke over Skype and Down explained what had happened with Valerio. (Id. at 23.) Down's father
contacted GAP 360, and Down received a Skype call from an employee named Emma Larby, who told
Down that someone would come to pick her up. (Id. at 23-24.)

After that conversation, Valerio entered Down's room and noticed that she had been crying. (Id. at 24.)
Down told him that she was homesick, and he left. (Id.) Down collected her belongings, went downstairs,
and informed Valerio that she was leaving. (Id. at 24-25.) Valerio expressed shock and told Down to grow
up and that he could offer her a lot of money. (Id. at 25.) Down felt intimidated by his behavior. (Id. [*9] )
After about 20 minutes, Leonardo arrived at Valerio's home to collect Down. (Id. at 26.) Valerio refused
to answer Leonardo's questions about what had happened and closed the door to the house. (Id.) Down
stayed at Leonardo's house for about a week and then returned to the United Kingdom. (Id.)
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B. Leonardo

Leonardo used to be employed by an au pair company called InterExchange Incorporated. (Id. at 59.) She
served as a local coordinator in Suffolk County on Long Island and was responsible for liaising between
au pairs and their host families. (Id.)

In 2012, Leonardo interviewed Valerio at his home after he applied to employ an au pair. (Id. at 60.) He
told her that he and his wife shared joint custody of Valerio's daughter Sylvia, who he said was in school
at the time of the interview. (Id. at 61-62.) Based on her discussion with Valerio, Leonardo characterized
him as organized, easy-going, patient, and intellectual. (Id. at 69.) Leonardo also believed that Valerio's
home reflected the typical living arrangement of an average family. (Id. at 69-70.) She had no doubts that
Valerio and his home were suitable for an au pair, although she personally found him to be "creepy." (Id.
at 71.) However, none of the paperwork that Leonardo completed following the interview indicated that
she felt uncomfortable with Valerio. (Id. at 86.)

Following the interview and Down's placement with Valerio, Leonardo received a phone call from
Down's international coordinator, who said that Down was very upset and wanted to leave Valerio's home.
(Id. at 72.) Leonardo was also told that there was no child living in Valerio's home. (Id. [*10] ) When
Leonardo arrived at Valerio's house, Down was waiting at the door with her belongings. (Id. at 72-73.)
Valerio was standing next to Down and closed the door behind her without explaining to Leonardo what
had happened. (Id. at 73.) Leonardo never spoke to Valerio after that interaction. (Id. at 74.)
C. Kalichenko

Following Valerio's conviction, Kalichenko pled guilty to charges of conspiracy to sexually exploiting a
child, sexual exploitation of a child, transportation of child pornography, and producing child
pornography for importation into the United States. (Id. at 94-95; see also United States v. Kalichenko,
14-CR-95 (JFB), ECF No. 91.) Kalichenko first met Valerio through a web site called UkranianDate.com
that matched couples seeking marriage. (Tr. of July 26, 2016 Hr'g at 96.) She was looking for a husband
and someone who could be a father to her daughter. (Id.)

Kalichenko and Valerio met in person for the first time in or around June 2011 when she traveled to Long
Island. (Id. at 97.) Valerio picked her up at the airport and paid for her flight from Dallas, Texas. (Id.)
Kalichenko met Valerio's son and stayed at Valerio's house for about 10 days. (Id. at 99.) At that time, she
thought he was an honest person, and he did not abuse [*11] her in any way; however, Kalichenko
observed that Valerio seemed to have a temper. (Id. at 99-101.) While staying with Valerio, Kalichenko
learned from her mother that she had placed Kalichenko's daughter in an orphanage in the Ukraine, which
Kalichenko mentioned to Valerio. (Id. at 99.) After that visit, Kalichenko returned to the Ukraine in
August 2011. (Id. at 101.) Valerio purchased her plane ticket and communicated with her while she was in
the Ukraine, and he also sent Kalichenko money. (Id. at 101-02.)

Kalichenko returned to the United States on or around September 2, 2011 to continue her relationship
with Valerio, whom she was determined to marry. (Id. at 103-04.) She stayed in the United States for
approximately two months and spent part of that time at Valerio's house. (Id. at 105.) After three weeks of
living with Valerio, Kalichenko departed his home for Seattle because he physically and sexually abused
her. (Id. at 106.) During the first instance of abuse, Valerio unexpectedly told Kalichenko that she had to
leave his house. (Id. at 107.) When she did not do so, Valerio pulled Kalichenko's clothes off of her,
forced her to crawl on the floor, and called her insulting names. (Id. at 108-09.) Valerio also repeatedly
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slapped and penetrated Kalichenko with his hand and pulled [*12] her hair; forced her to perform oral sex
on him after she refused to do so; and forced Kalichenko to engage in sexual intercourse. (Id. at 109-13,
115-16.) Kalichenko felt humiliated and was in physical pain during this assault, which lasted
approximately one to two hours. (Id. at 110-11, 115.) Afterwards, Kalichenko returned to her room and
cried, and she then left Valerio's home. (Id. at 116.)

While in Seattle, Kalichenko stayed with a contact that she barely knew. (Id. at 117.) She chose not to
report Valerio to the police because she still held out hope that he could be a good father to his daughter.
(Id. at 119-20.) She eventually returned to Valerio's home in October 2011 after he contacted her via e-
mail and asked her to come back. (Id. at 120-21.) Kalichenko decided to give Valerio a second chance and
stayed with him for a few weeks. (Id. at 121.) Valerio paid for her flight from Seattle and told her that he
would pick her up in Central Park in New York City, and he also instructed that she wear a mini dress or
mini skirt and pantyhose without underwear. (Id. at 122.) Kalichenko dressed as directed, and Valerio
picked her up in Central Park and drove her to Long Island. (Id. at 123.) After a few hours of driving, he
pulled to the side of the road and sexually assaulted Kalichenko, tearing [*13] her clothes and causing her
physical pain. (Id. at 124-26.) After Valerio finished, he told Kalichenko that he was sorry. (Id. at 127-28.)
She decided not to contact the police because she still hoped that Valerio would prove to be a good father
to her daughter. (Id. at 128.)

On or about October 18, 2011, near the end of Kalichenko's stay with Valerio, Kalichenko signed a
written agreement with Valerio that he drafted stating that she was entering into a "multiple partner
relationship" with him. (Id. at 130.) The agreement also said that Kalichenko promised to obey Valerio's
commands, and that Valerio agreed to be gentle to her when not engaging in consensual rough sexual
intercourse. (Id. at 131.) Notwithstanding that agreement, Kalichenko believed that Valerio's prior sexual
assaults against her were non-consensual because, among other things, she begged him to stop.4 (Id. at
131-32.) The agreement also said that Kalichenko would never mention the word "police" in Valerio's
home, and Kalichenko believed that Valerio included this language because he feared that she would
contact law enforcement about his assaults. (Id. at 132-33.) In addition, Valerio sent Kalichenko e-mails
asking her to help him adopt a child from the Ukraine by posing with him as a couple in [*14] return for a
commission. (Id. at 134-37.) Kalichenko did not assist Valerio and sent his correspondence to the
American consulate to make sure that he could not adopt a child from the Ukraine or any other country.
(Id. at 137.)
D. A.D.

A.D. was born and raised in South Africa. (United States v. Valerio, 14-CR-94 (JFB), Tr. of Sept. 26,
2016 Hr'g at 3.) She has a nine-year old son and a seven-year old daughter. (Id. at 4.) She has traveled to
the United States several times from February to May 2008; June to October or November 2008; and
December 2008 to March 2010. (Id. at 4-5.) During all of those visits, A.D. stayed on Long Island and
lived in houses owned by Valerio. (Id. at 5.)

A.D. met Valerio through a dating web site named christiansingles.com in or around July or August of
2007 when she was pregnant with her son. (Id. at 6.) Valerio paid for her February 2008 flight to the
United States, and she brought her son with her. (Id. at 7.) Valerio picked her up from the airport, gave her

4 To
     the extent it is suggested that the agreement demonstrates these particular incidents were somehow consensual, the Court credits
Kalichenko's testimony that these were non-consensual assaults. As discussed below, the Court also reaches the same conclusion regarding
A.D.'s testimony.
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gifts, and treated her well at first. (Id. at 7-8.) Eventually, Valerio began losing his temper and, on one
occasion, threw A.D. to the kitchen floor and choked and hit her while she screamed. (Id. at 8.) Valerio
also began expressing his annoyance with her son and the amount of time [*15] A.D. spent caring for
him. (Id. at 9.) A.D. returned to South Africa in May 2008 because she missed her mother. (Id. at 12.) In
addition, Valerio had asked that she participate in some kind of fashion show during which she would
wear nothing but pantyhose, and this made her uncomfortable, so she decided to leave the United States
for the time-being. (Id.)

When A.D. returned in June 2008, Valerio picked her up at the airport. (Id. at 13.) Another man helped
A.D. carry her bags from the plane to the airport exit, and when Valerio saw him assist her, he became
angry and grabbed the luggage away from the man. (Id. at 13-14.) After Valerio and A.D. arrived at
Valerio's home, Valerio grabbed A.D. and forced her onto a couch. (Id. 14.) He covered her face with a
pillow and ripped her clothes off, telling her that he was in charge and leaving her in tears. (Id.) During
this second visit, A.D. became pregnant from Valerio in or around July 2008, and returned to South Africa
a few months later to see her mother. (Id. at 17.)

After A.D. came back to the United States for the third time, she gave birth to their daughter in April
2009, and Valerio refused to let her leave the country again despite the fact that her visa subsequently
expired. (Id. at 18.) A.D. [*16] brought her son with her, but eventually asked her mother to come to the
United States and bring him back to South Africa because A.D. believed that her son was not safe in
Valerio's home. (Id. at 19.) While A.D. was pregnant with their daughter, Valerio's abuse worsened and he
told her that she should get an abortion or fall down the stairs and die. (Id.) In addition, because A.D. was
not having sex with him, Valerio slapped her on one occasion, causing A.D. to fall and split her lip. (Id. at
20.) He also attempted to force sexual intercourse on another occasion, choking A.D. while she begged
him to stop, which he eventually did. (Id.)

After their daughter was born, Valerio's abuse of A.D. continued, and on another occasion, he tried to rape
her and banged A.D.'s head against her bed's headboard while she held their daughter in her arms. (Id. at
21.) In addition, the sight of A.D. breastfeeding their daughter made Valerio angry, and he once threw a
soda can at her head when he saw her doing so. (Id. at 20-21.) After a verbal argument during the summer
of 2009, A.D. called the police, and when two officers arrived and A.D. explained what had happened,
one of the officer told her that she had probably provoked Valerio. (Id. at 22-24 [*17] .) This stunned A.D.
and led her to believe that Valerio was correct when he told her that no one would help her if she reported
his abuse, and she declined to complete a formal police statement. (Id. at 24, 57-58.) Valerio also
repeatedly told A.D. that she could not leave the United States, and that if she did, he would send
someone after her. (Id.) While A.D. lived with Valerio, he strictly monitored her interactions with other
people and refused to let her socialize outside of the home, although he eventually bought her a cell phone
to use. (Id. at 29-30.) When Valerio left the house, he would lock A.D. inside and close the blinds. (Id. at
30-31.)

During the summer of 2009, Valerio physically assaulted A.D. on another occasion while he was driving
her for an evening out. (Id. at 25.) After hitting her, Valerio stopped the car in a dark parking lot and told
A.D. that she was going to die, and she jumped out of the car. (Id. at 25-26.) A.D. screamed for help, and
Valerio grabbed her, put his hand over her mouth, and forced her back into the vehicle. (Id. at 26.) Due to
these repeated incidents of abuse, A.D. left Valerio's home and went to a women's shelter called Brighter
Tomorrows. (Id. at 27-28.) However, because the shelter was not comfortable and because Valerio
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convinced A.D. that conditions would improve if she returned, A.D. went back to live with Valerio. (Id. at
27.)

Two subsequent physical assaults caused A.D. to leave the United States for the third time. (Id. at 31.)
The first incident occurred while Valerio was driving A.D. and was pulled over by two police officers for
driving on the wrong side of the road. (Id. at 31-32.) This angered Valerio, and after the police left, he
drove A.D. to [*18] a beach, smashed her head against the car's dashboard, pulled her hair back, and
screamed insults at her. (Id. at 32.) He also ripped A.D.'s dress, and then drove her back to his house. (Id.
at 32-33.) The second incident, which occurred in or around November 2009, happened when A.D.
entered Valerio's home office. (Id. at 33.) He became angry and choked and punched her, causing A.D. to
lose consciousness. (Id. at 34.) When A.D. awoke, she realized that her mouth was bloody and that
Valerio had knocked some of her teeth loose. (Id.) Valerio allowed her to go to a dentist, but told A.D.
that he would kill her if she told anyone about the assault. (Id. at 34-35.) The dentist referred A.D. to a
surgeon, but despite the operation, which Valerio paid for, A.D.'s teeth have never returned to normal. (Id.
at 35.)

Before A.D. returned to South Africa, she filed for custody of their daughter in a family court on Long
Island. (Id. at 36-37.) Her custody petition documented Valerio's' abusive behavior. (Id. at 37.) After filing
for custody, A.D. left the United States on or about March 9, 2010 with their daughter after promising
Valerio that she would eventually return. (Id. at 37-38.) A.D. agreed to come back to the United States
because she was fearful that Valerio would send someone [*19] to retrieve her or hurt her family if she
did not do so. (Id. at 38.) On or about October 4, 2010, Valerio e-mailed A.D. saying that he was going to
travel to South Africa and forcibly take her daughter from her. (Id. at 39-40.) This convinced A.D. that
she had to return to the United States to protect her daughter from Valerio, which she did in January 2016.
(Id. at 40.)

When A.D. arrived in the United States, Federal Bureau of Investigation Special Agent Steven Troyd met
her at the airport. (Id. at 40.) A.D. spoke with Special Agent Troyd and provided him with several e-mails
documenting, inter alia, her visits to the dentist and the oral surgeon. (Id. at 40-44.)
III. CONCLUSION

Based on the foregoing findings of fact, the Court intends to consider at sentencing the defendant's
physical and sexual assaults of Kalichenko and A.D. in connection with the Section 3553(a) factors—
namely, the defendant's history of extremely dangerous and violent behavior towards other individuals,
and the need to protect the public from further crimes of the defendant.

SO ORDERED.

JOSEPH F. BIANCO

United States District Judge

Dated: June 1, 2017

Central Islip, NY


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